         Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 1 of 86

                                                   416                                                 418
           UNITED STATES DISTRICT COURT                   1     A P P E A R A N C E S (Continued)
                                                          2
           EASTERN DISTRICT OF LOUISIANA                  3   APPEARING FOR HALLIBURTON:
       IN RE: OIL SPILL     ) MDL NO. 2179                4   Mr. Richard W. Beckler
                                                              Mr. Jason B. Hutt
       by the OIL RIG     )                               5   BRACEWELL GULIANI
       "DEEPWATER HORIZON" in ) SECTION "J"                   2000 K Street NW, Suite 500
       the GULF OF MEXICO, ON )                           6   Washington, District of Columbia
                                                              20006-1872
       APRIL 20, 2010    ) JUDGE BARBIER                  7
                    )                                         Ms. Stacy S. Russell
                    ) MAG. JUDGE                          8   HALLIBURTON
                                                              10200 Bellaire Boulevard
                    ) SHUSHAN                             9   Houston, Texas 77072
                                                         10   APPEARING FOR WEATHERFORD:
                                                         11   Mr. Wayne G. Zeringue, Jr.
                                                              JONES, WALKER, WAECHTER, POITEVENT,
                                                         12   CARRERE & DENEGRE, L.L.P.
                                                              201 St. Charles Avenue
                                                         13   New Orleans, Louisiana 70170
                                                         14   APPEARING FOR DRIL-QUIP, INC.:
                                                         15   Mr. Don Jackson
                                                              WARE, JACKSON, LEE & CHAMBERS
                                                         16   America Tower, 42nd Floor
                                                              2929 Allen Parkway
                                                         17   Houston, Texas 77019-7101
                                                         18   APPEARING FOR M-I SWACO:
                                                         19   Mr. Paul E. Krieger
                                                              MORGAN, LEWIS & BOCKIUS, L.L.P.
                                                         20   1000 Louisiana Street, Suite 4000
                                                              Houston, Texas 77002-5006
                                                         21
                         VOLUME 2 OF 2                        APPEARING FOR THE UNITED STATES:
                                                         22
                                                              Ms. Jessica Sullivan
          Deposition of RONALD RAY FAUL, taken           23   U.S. DEPARTMENT OF JUSTICE
       at Pan American Life Center, 601 Poydras               TORT BRANCH, CIVIL DIVISION
                                                         24   1425 New York Avenue, N.W.
       Street, Ponchartrain Room, New Orleans,                Suite 10100
       Louisiana, on the 30th of June, 2011.             25   Washington, D.C. 20005

                                                   417                                                 419
 1         APPEARANCES                                    1      A P P E A R A N C E S (Continued)
 2
 3   APPEARING FOR THE PLAINTIFFS' STEERING
                                                          2
     COMMITTEE:                                           3   APPEARING FOR CAMERON:
 4                                                        4   Ms. Kathleen A. Gallagher
     Mr. Thomas Thornhill
 5   Ms. Emily Gebhardt                                       BECK REDDEN & SECREST
     THORNHILL LAW FIRM                                   5   One Houston Center
 6   1308 Ninth Street                                        1221 McKinney Street
     Slidell, Louisiana 70458
 7                                                        6   Suite 4500
     APPEARING FOR BP, INC.:                                  Houston, Texas 77010
 8                                                        7
     Mr. Philip T. Chen
 9   Mr. David Mitchell                                       APPEARING FOR THE WITNESS:
     KIRKLAND & ELLIS                                     8
10   333 South Hope Street                                    Mr. Christopher Carlson
     Los Angeles, California 90071
11                                                        9   JOHN T. FLOYD LAW FIRM
     APPEARING FOR TRANSOCEAN:                                2000 Smith Street
12                                                       10   Houston, Texas 77002
     Mr. Daniel Goforth
13   Ms. Kate H. Easterling                              11   ALSO PRESENT:
     GOFORTH GEREN EASTERLING, LLP                       12   Ms. Melissa Bardwell, Videographer
14   4900 Woodway                                        13
     Suite 750
15   Houston, Texas 77056                                14   REPORTED BY:
16   APPEARING FOR ANADARKO PETROLEUM COMPANY:           15     THERESE J. CASTERLINE, CSR, RMR, CRR
17   Ms. Janika D. Polk                                         Certified Shorthand Reporter
     Mr. Terrance Prout
18   KUCHLER POLK                                        16     State of Texas
     1615 Poydras Street                                        Certified Shorthand Reporter
19   Suite 1300                                          17     State of Louisiana
     New Orleans, Louisiana 70112
20                                                       18
     APPEARING FOR HALLIBURTON:                          19
21                                                       20
     Mr. Gavin Hill
22   Lauren L. Mitchell                                  21
     Mr. Bruce W. Bowman, Jr.                            22
23   GODWIN RONQUILLO                                    23
     1201 Elm Street, Suite 1700
24   Dallas, Texas 75270-2041                            24
25                                                       25

                                                                                     1 (Pages 416 to 419)
                                     PURSUANT TO CONFIDENTIALITY ORDER
     Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 2 of 86

                                                548                            550




                                                      1



14      Q. Got anything bad to say about
15   Transocean?
16      A. No, I don't.
17      Q. May be the last time I ask you, so
18   if you've got something bad to say, go
19   ahead say it now.
20      A. I have nothing for the record.
21




                                                549                            551




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                                                          34 (Pages 548 to 551)
                      PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 3 of 86

                                    640                                               642




1                                         1




                                    641                                               643




1                                         1




                                          20     Q.         Are you aware of -- sir, of
                                          21   any evidence that a Transocean employee or
                                          22   manager was negligent in performing his or
                                          23   her job in connection with the Macondo
                                          24   prospect?
                                          25          MR. HILL: Object to form.
                                                           57 (Pages 640 to 643)
                PURSUANT TO CONFIDENTIALITY ORDER
     Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 4 of 86

                                          644                                  646
 1     A. I'm not aware of any of that.
 2     Q. (BY MR. GOFORTH) Are you aware of
 3   any Transocean employee or manager
 4   involved with the Macondo prospect ever in
 5   connection with the Macondo prospect
 6   deliberately wanting to cause injury to
 7   the environment or to any person?
 8     A. I'm not aware of that.
 9          MR. CHEN: Objection, form.
10     Q. (BY MR. GOFORTH) Are you aware of 1
11   any Transocean employee or manager
12   involved in the Macondo prospect ever
13   acting maliciously or not caring about
14   causing injury to another human or the
15   environment?
16          MR. CHEN: Objection, form.
17          MR. CARLSON: Objection, form.
18     A. I'm not aware of that.




                                          645                                  647




1                                               1




                                                         58 (Pages 644 to 647)
                   PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 5 of 86




                                                                                          725

   1                I, RONALD RAY FAUL, have read the
   2         foregoing deposition and hereby affix my
   3         signature that same is true and correct,
   4         except as noted on the attached Amendment
   5         Sheet.
   6
                                     ~~c0d
   7                                                RONALD RAY FAUL
   8         THE STATE OF ·f..e.-Ka.5.          )
   9         COUNTY OF           f-.b.tz'<;"   J
  10                Before me,            ~Q,~)lD. Pet::! l
  11         on this day personally appeared
  12         RONALD RAY FAUL, known to me (or proved to
  13         me on the oath of                                or
  14         through _~__~_~~_) to be the person
  15         whose name is subscribed to the foregoing
  16         instrument and executed the same for the
  17         purposes and consideration therein
  18         expressed.
  19                Given under my hand and seal of office
  20         this    71 ':2-7.-( "                2.0(1
                                      day of ------------------,
  21         2011.


                                                                   W-t..._ RANJAN PATE L
  22                                                                   ~
                                                                               NOTARY PUBLI

                                                                   l
  23                      NOTARY PUBLIC IN AND FOR                 ~ ]i!("    STATE OF TEXA~
                                                                    '.; ~<l CDMM. EXPIRES 05·13 ~012
  24                      THE STATE OF -f~~_
  25                      My commission expires:


                    PURSUANT TO CONFIDENTIALITY ORDER
                    Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 6 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported by:

KELLY S. GRAY VOL. II                                                                          April 15, 2011   JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                       Page 442
                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                                                        VOLUME II

                      Deposition of KELLY S. GRAY, taken
               in the Pan American Life Center, Bayou
               Room, 11th Floor, 601 Poydras Street, New
               Orleans, Louisiana 70130, on Friday, April
               15, 2011.



               APPEARANCES:



                                 THORNHILL LAW FIRM, APLC
                                 (By: Tom W. Thornhill, Esquire
                                       Emily Gebhardt, Esquire)
                                 1308 Ninth Street
                                 Slidell, Louisiana 70458)
                                     (Plaintiff's Steering Committee)




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                  Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters               Facsimile: (504) 525-9109
                                                                                                                             026272b6-47d2-4fc1-9e18-c777b7c11ec0
                    Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 7 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                             Reported by:

KELLY S. GRAY VOL. II                                                                          April 15, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 523                                                  Page 525
   1                                                                                                   1




 10


                                                                                                      13     Q. Every person on the DEEPWATER
                                                                                                      14   HORIZON had stop the job authority; right?
                                                                                                      15     MR. HARTLEY:
                                                                                                      16         Object to form.
                                                                                                      17     THE WITNESS:
                                                                                                      18         That's true.
                                                                                                      19   EXAMINATION BY MR. KEEGAN:
                                                                                                      20     Q. People on the DEEPWATER HORIZON
                                                                                                      21   were serious about safety?
                                                                                                      22     A. Yes, sir.
                                                                                                      23     Q. The people on the DEEPWATER
                                                                                                      24   HORIZON were committed to safety?
                                                                                                      25     A. Yes, sir.
                                                                                           Page 524                                                  Page 526
                                                                                                       1      Q. And, in fact, DEEPWATER
                                                                                                       2   HORIZON's rig performance showed that
                                                                                                       3   commitment to safety; right?
                                                                                                       4      A. Yes, sir.
                                                                                                       5      Q. They received commendations for
                                                                                                       6   safe operations?
                                                                                                       7      A. I know that we received -- yes.
                                                                                                       8   I mean, I don't have proof, but yeah, I
                                                                                                       9   mean, I was there.
 10                                                                                                   10




                                                                                                      20    Q. And the Transocean rig crew that
                                                                                                      21 you worked with were serious about safety?
                                                                                                      22    A. Yes, sir, they were.




                                                                                                                           22 (Pages 523 to 526)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                       Telephone: (504) 525-9100
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                    Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 8 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                          Reported by:

KELLY S. GRAY VOL. II                                                                          April 15, 2011     JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 531                                             Page 533
                                                                                                       1   deliberately wanting to cause injury to a
                                                                                                       2   person or the environment?
  3           Q. And had you ever worked with the                                                      3      A. No, ma'am.
  4        Transocean crew that was on tour on the                                                     4      Q. Had you ever seen any Transocean
  5        DEEPWATER HORIZON on the evening of                                                         5   employee on the DEEPWATER HORIZON ever act
  6        April 20, 2010?                                                                             6   maliciously or not caring about causing
  7           A. Yes, ma'am.                                                                           7   injury to a person or the environment?
  8           Q. You knew Jason Anderson?                                                              8      A. No, ma'am.
  9           A. Very well.                                                                            9      Q. Had you ever seen any Transocean
 10           Q. And you worked with Jason                                                            10   employee on the DEEPWATER HORIZON ever
 11        Anderson?                                                                                  11   willfully inflict harm on any person or the
 12           A. Many years.                                                                          12   environment?
 13           Q. And you new Dewey Revette?                                                           13      A. No, ma'am.
 14           A. Yes, ma'am.
 15           Q. And you worked with Dewey
 16        Revette for many years?
 17           A. Yes, ma'am.
 18           Q. The same question with Stephen
 19        Curtis. Did you know Stephen Curtis?
 20           A. Yes, ma'am.
 21           Q. You had worked with him?
 22           A. Yes. You have to excuse me.
 23           Q. You need to take a break?
 24           A. No, I'm fine.
 25           Q. Same question with Donald Clark.
                                                                                           Page 532                                             Page 534
  1        You knew Donald Clark?
  2            A. Very well.
  3            Q. You had worked with Donald
  4        Clark?
  5            A. Yes, ma'am.
  6            Q. Those men were all very skilled
  7        at their job; correct?
  8            A. In my opinion, yes, ma'am.
  9            Q. They were knowledgeable?
 10            A. Yes, ma'am.                                                                         10
 11            Q. They did their job?
 12            A. In my opinion, yes, ma'am.
 13            Q. You trusted them to do their
 14        job?
 15            A. We had an excellent
 16        relationship, ma'am.
 17            Q. Had you ever seen any of those
 18        men or any of the Transocean crew perform
 19        their job in a way that you thought was
 20        negligent?
 21            A. No, ma'am.
 22            Q. Had you ever seen any Transocean
 23        employee on the Macondo well in connection
 24        with -- on the DEEPWATER HORIZON in
 25        connection with Macondo Prospect ever
                                                                                                                         24 (Pages 531 to 534)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                     Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                   Facsimile: (504) 525-9109
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Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 9 of 86



                          GAUDET KAISER, L.L.C. .
                                                                                                 1
                                                                                                 j

                601 Poydras Street, Suite 1720        New Orleans, louisiana 70130
                       Phone: (504) 525-9100             Fax: (504) 525-9109

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                               WITNESS CERTIFICATE
                                                                            ~1~,:~O:mE ~
                                                                               l                     .=J




                I,    KELLY S. GRAY, have read or have had the

                foregoing testimony read to me and hereby certify

                that      it    is a true and correct transcription                         of

                my testimony,                with the            exception           of    any

                attached corrections or changes.




       (Date Signed)
                                                         ::!.~~
                                                               (Signature)
                                                                                            :
       x             Signed with corrections as attached.

                     Sig ned with no corrections noted.




 11745 Bricksome Avenue, Suite A-4               PHONE   (225) 291-3411
 Baton Rouge, louisiana 70816                    FAX     (225) 291-7990

 263 W. Causeway Approach                        PHONE   (504) 525-9100
 Mandeville, Louisiana 70448                     FAX     (504) 525-9109

 Website: www.gaudetkalser.com                   ALT. EMAIL:
                                                 Gkp2003@aol.com &. gkp@gaudetkaiser.com
                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 10 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                     Reported by:


JOSEPH E. KEITH                                                                      March 28, 2011 SANDRA D. FILES, CCR

                                                                                                                           Page 1
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA

                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                          Videotaped deposition of JOSEPH
               E. KEITH, taken in the Pan American Life
               Center, Pontchartrain Room, 11th Floor, 601
               Poydras Street, New Orleans, Louisiana
               70130, on Monday, March 28, 2011.

               APPEARANCES:

               ON BEHALF OF THE PLAINTIFFS
               STEERING COMMITTEE



               CUNNINGHAM BOUNDS, LLC
               By: William E. Bonner, Esquire
               1601 Dauphin Street
               Mobile, Alabama 36604




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                                                                                                             8424594a-7536-4818-bcca-d3e5b4ce3d19
                Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 11 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                      Reported by:

JOSEPH E. KEITH                                                                      March 28, 2011         SANDRA D. FILES, CCR
                                                                                               45                                      47




       4        Q. Now, how many years have you
       5     been on the HORIZON or were you on the
       6     HORIZON?
       7        A. Going on eight years.
       8




                                                                                               46                                      48
       1                                                                                                1




   1                                                                                                1




                                                                                                             12 (Pages 45 to 48)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                         Telephone (504) 525-9100
New Orleans, Louisiana 70130-6029Board-Certified Court Reporters                                               Facsimile: (504) 525-9109
                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 12 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                              Reported by:


JOSEPH E. KEITH                                                                      March 28, 2011 SANDRA D. FILES, CCR
                                                                                           Page 146                                                 Page 148




 10                                                                                                   10      Q. Did you ever get the feeling
                                                                                                      11   that once the final casing string was set
                                                                                                      12   and once the cement was set and there was a
                                                                                                      13   negative pressure test done, that the crew
                                                                                                      14   was home-free and they could just --
                                                                                                      15      A. No. Everybody was still
                                                                                                      16   watching everything. It's just like me --
                                                                                                      17   you know, we are always still aware
                                                                                                      18   when --
                                                                                                      19      Q. Okay.
                                                                                                      20      A. In other words, when we're laid
                                                                                                      21   back, everybody was still watching
                                                                                                      22   everything.



                                                                                           Page 147                                                 Page 149
   1                                                                                                  1




                                                                                                                            38 (Pages 146 to 149)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                                          Telephone (504) 525-9100
New Orleans, Louisiana 70130-6029 Board-Certified Court Reporters                                                                 Facsimile: (504) 525-9109
                                                                                                                                      8424594a-7536-4818-bcca-d3e5b4ce3d19
                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 13 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported by:


JOSEPH E. KEITH                                                                      March 28, 2011 SANDRA D. FILES, CCR
                                                                                           Page 186                                                   Page 188
                                                                                                       1   doing something unsafe, I want to stop
                                                                                                       2   what's going on because I think it's
                                                                                                       3   unsafe?
                                                                                                       4      A. I never seen one. I've --
                                                                                                       5      Q. You have never seen a situation
                                                                                                       6   that you thought was unsafe?
                                                                                                       7      A. Not during well control or
                                                                                                       8   anything like that, no.
                                                                                                       9      Q. Okay. Do you think that
 10                                                                                                   10   employees on the rig were all willing to
                                                                                                      11   call time-out for safety?
                                                                                                      12      MR. HARTLEY:
                                                                                                      13             Object to form.
                                                                                                      14      MR. GODFREY:
                                                                                                      15             Objection, form.
                                                                                                      16      THE WITNESS:
                                                                                                      17             That's always your
                                                                                                      18   decision.
                                                                                                      19   BY MR. CHAKERES:
                                                                                                      20      Q. Did you think there was any
                                                                                                      21   pressure placed on you or anybody else
                                                                                                      22   regarding time-out for safety?
 23    Q. Okay. Are you familiar with the                                                             23      MR. HARTLEY:
 24 concept of time-out for safety?                                                                   24             Object to form.
 25    A. Yes, I am.                                                                                  25      THE WITNESS:
                                                                                           Page 187                                                   Page 189
  1            Q. Could you give us your                                                               1              I never felt no pressure,
  2        understanding of that policy?                                                               2   no.
  3            A. Time-out for safety is -- is                                                         3   BY MR. CHAKERES:
  4        when, if you see anybody doing an unsafe                                                    4       Q. To not call one?
  5        act or anything, you call a time-out and                                                    5       A. Right.
  6        they -- they go through discussions, so                                                     6       Q. To not halt drilling activities?
  7        forth.                                                                                      7       A. No. Never been in that
  8            Q. Okay. Does that include well                                                         8   situation.
  9        control issues?                                                                             9       Q. Did you ever see anybody else
 10            A. I have never seen it -- I have                                                      10   who you thought was uncomfortable calling
 11        never -- I'm not sure.                                                                     11   one?
 12            Q. You have never seen somebody                                                        12       MR. HARTLEY:
 13        call a time-out for safety because --                                                      13              Object to form.
 14            A. As far as for well control --                                                       14       THE WITNESS:
 15            Q. As far as for --                                                                    15              Not that I recall, no.
 16            A. I have never seen it, no.                                                           16
 17            Q. Okay. Have you ever seen any
 18        situations where you think one should have
 19        been called for well control?
 20            A. I have never been in that
 21        situation. I -- I have never seen that.
 22            Q. You have never seen one called?
 23            A. Correct.
 24            Q. Have you ever seen any
 25        situations where you think the driller is

                                                                                                                             48 (Pages 186 to 189)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                                           Telephone (504) 525-9100
New Orleans, Louisiana 70130-6029 Board-Certified Court Reporters                                                                  Facsimile: (504) 525-9109
                                                                                                                                       8424594a-7536-4818-bcca-d3e5b4ce3d19
                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 14 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                                Reported by:


JOSEPH E. KEITH                                                                      March 28, 2011 SANDRA D. FILES, CCR
                                                                                           Page 302                                                     Page 304
                                                                                                       1       Q. They did their job?
                                                                                                       2       A. Yes, sir.
                                                                                                       3       MR. HARTLEY:
                                                                                                       4              Object to form.
                                                                                                       5       THE WITNESS:
                                                                                                       6              As far as I know they did
                                                                                                       7   their job.
                                                                                                       8   BY MR. GOFORTH:
                                                                                                       9       Q. You didn't see anything on that
 10                                                                                                   10   evening that any of those men did that you
                                                                                                      11   would classify as negligent, did you?
                                                                                                      12       MR. HARTLEY:
                                                                                                      13              Object to form.
                                                                                                      14       THE WITNESS:
                                                                                                      15              I didn't see nothing, no,
                                                                                                      16   sir. As far as for what I'm --
                                                                                                      17       MR. GODFREY:
                                                                                                      18              Sorry, but I can't hear you
                                                                                                      19   back here. If you --
                                                                                                      20       MR. GOFORTH:
                                                                                                      21              Well, it's just -- we're
                                                                                                      22   just -- we're just talking.
                                                                                                      23       MR. GODFREY:
                                                                                                      24              I know.
                                                                                                      25       THE WITNESS:
                                                                                           Page 303                                                     Page 305
                                                                                                       1             I didn't see nothing.
                                                                                                       2      MR. GODFREY:
                                                                                                       3             But I'm not listening
                                                                                                       4   because I can't hear.
                                                                                                       5      THE WITNESS:
                                                                                                       6             I didn't see nothing
                                                                                                       7   that --
                                                                                                       8      MR. GODFREY:
                                                                                                       9             Thank you.
                                                                                                      10      THE WITNESS:
                                                                                                      11              -- that indicated --
                                                                                                      12   BY MR. GOFORTH:
                                                                                                      13      Q. Got you. Okay. You knew the
                                                                                                      14   other Transocean rig members as well?
 15      First, though, did you know                                                                  15      A. Yes, sir.
 16 Dewey Revette?                                                                                    16      Q. On other -- other ships?
 17   A. Yes, sir.                                                                                    17      A. Quite a few of them, yes, sir.
 18   Q. Did you know Jason Anderson?                                                                 18      Q. Did you ever see anything from
 19   A. Yes, sir.                                                                                    19   any of the Transocean crew people that you
 20   Q. Did you know Steven Curtis?                                                                  20   would classify as negligent?
 21   A. Yes, sir. Knew them all.                                                                     21      MR. HARTLEY:
 22   Q. Knew them all. Trusted them?                                                                 22             Object, form.
 23   A. Yes, sir.                                                                                    23      THE WITNESS:
 24   Q. They were competent?                                                                         24             I -- I never have, no, sir.
 25   A. Yes, sir.                                                                                    25   BY MR. GOFORTH:

                                                                                                                            77 (Pages 302 to 305)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                                           Telephone (504) 525-9100
New Orleans, Louisiana 70130-6029 Board-Certified Court Reporters                                                                  Facsimile: (504) 525-9109
                                                                                                                                       8424594a-7536-4818-bcca-d3e5b4ce3d19
                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 15 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                          Reported by:


JOSEPH E. KEITH                                                                      March 28, 2011 SANDRA D. FILES, CCR
                                                                                           Page 306                                             Page 308
  1           Q. Did you ever see anything from                                                       1   men?
  2        any Transocean rig crew members, especially                                                2      A. Yes, sir.
  3        these men there on that -- that evening                                                    3      Q. You probably miss them now,
  4        that indicated to you that they were                                                       4   don't you, sir?
  5        indifferent at all to human health and                                                     5      A. Yes, sir.
  6        safety?                                                                                    6
  7           A. I had no indication, no, sir.
  8           Q. Did you ever see anything that
  9        would lead you to believe that they were
 10        indifferent to environmental safety?                                                       1
 11           A. Not that day, no, sir, or ever
 12        before.
 13           Q. These men were not callous men,
 14        were they?
 15           MR. HARTLEY:
 16                   Object, form.
 17           THE WITNESS:
 18                   No, sir, not that I seen.
 19        BY MR. GOFORTH:
 20           Q. You certainly never saw any
 21        intent upon any of these men to harm
 22        another human being, did you, sir?
 23           A. Correct. Never have.
 24           Q. Did you ever see anything that
 25        you would -- that you, Joseph Keith would
                                                                                           Page 307                                             Page 309
  1        classify as an intent on any of these men's
  2        part to endanger in any way the
  3        environment?
  4           A. No, sir.
  5           Q. I'm going to ask you the same
  6        question, little different fashion. Did
  7        you see anything that evening or at any
  8        point in time from the Transocean rig crew
  9        on the -- on the DEEPWATER HORIZON that
 10        would indicate to you that they were
 11        malicious in their thought process or their
 12        thought patterns about endangering either
 13        the health or safety of humans or of the
 14        environment?
 15           A. That day I did not, no, sir.
 16           MR. HARTLEY:
 17                   Object, form.
 18        BY MR. GOFORTH:
 19           Q. They were not?
 20           A. I did not see that day, no, sir.
 21           Q. And you knew them pretty well?
 22           A. Yes, sir.
 23           Q. You had known them for a while?
 24           A. Had worked with them.
 25           Q. You considered them to be good

                                                                                                                         78 (Pages 306 to 309)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                                       Telephone (504) 525-9100
New Orleans, Louisiana 70130-6029 Board-Certified Court Reporters                                                              Facsimile: (504) 525-9109
                                                                                                                                  8424594a-7536-4818-bcca-d3e5b4ce3d19
          Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 16 of 86

                                                         1                                                                    3
            UNITED STATES DISTRICT COURT                      1   APPEARING FOR WEATHERFORD:
            EASTERN DISTRICT OF LOUISIANA                          Mr. Michael G. Lemoine
                                                              2    JONES, WALKER, WAECHTER, POITEVENT,
                                                                   CARRERE & DENEGRE, LLP
     IN RE: OIL SPILL    ) MDL NO. 2179                       3    600 Jefferson Street, Suite 1600
     BY THEOIL RIG     )                                           Lafayette, Louisiana 70501
                                                              4
     "DEEPWATER HORIZON" IN ) SECTION "J"                     5   APPEARING FOR M-I SWACO:
     THE GULF OF MEXICO, ON )                                      Mr. Lucas T. Elliot
     APRIL 20, 2010   ) JUDGE BARBIER                         6    MORGAN, LEWIS & BOCKIUS, LLP
                 ) MAG. JUDGE SHUSHAN                              1000 Louisiana Street, Suite 4200
                                                              7    Houston, Texas 77002-5006
                                                              8
                                                                  APPEARING FOR HALLIBURTON:
                                                              9    Mr. Floyd R. Hartley, Jr.
                                                                   GODWIN RONQUILLO
                                                             10    1201 Elm Street, Suite 1700
                                                                   Dallas, Texas 75270-2041
                                                             11
                                                             12   APPEARING FOR THE STATE OF LOUISIANA:
                                                                   Mr. Henry Dart
                                                             13    510 North Jefferson Street
                                                                   Covington, Louisiana 70433
                                                             14
                                                                    Ms. Phyllis E. Glazer
                *****************                            15     Assistant Attorney General
                                                                    Litigation Division
                   VOLUME 1                                  16     LOUISIANA DEPARTMENT OF JUSTICE
                *****************                                   400 Poydras Street, Suite 1600
                                                             17     New Orleans, Louisiana 70130-3220
                                                             18
                                                                  ALSO PRESENT:
          Deposition of Kurt Adam Kronenberger,              19    Mr. Mark Hendrix, Videographer
     taken at Pan-American Building, 601 Poydras                   Ms. Andrea Whitten
     Street, 11th Floor, New Orleans, Louisiana,             20
     70130, on the 2nd day of August, 2011.                  21
                                                             22
                                                             23
                                                             24
                                                             25

                                                         2                                                                    4
 1          APPEARANCES                                       1                INDEX
 2                                                            2           VIDEOTAPED ORAL DEPOSITION OF
 3
                                                                            KURT ADAM KRONENBERGER
 4   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:
      Mr. Michael C. Palmintier
                                                              3              AUGUST 2, 2011
 5    DEGRAVELLES, PALMINTIER, HOLTHAUS & FRUGÉ                                VOLUME 1
      618 Main Street                                         4
 6    Baton Rouge, Louisiana 70801-1910                       5
 7                                                            6   Appearances.................................... 2
     APPEARING FOR BP, INC.:                                  7
 8    Mr. Taylor Broadhead
                                                                  Direct Examination-Mr. Palmintier.............. 8
      Mr. Walter R. Lancaster
 9    KIRKLAND & ELLIS                                        8   Examination-Mr. Dart......................... 104
      333 South Hope Street                                       Examination-Mr. Broadhead.................... 147
10    Los Angeles, California 90071                           9   Examination-Mr. Goforth...................... 192
11                                                                Examination-Mr. Guidry....................... 226
     APPEARING FOR TRANSOCEAN:                               10   Examination-Mr. Hartley...................... 242
12    Mr. Daniel O. Goforth                                       Redirect Examination-Mr. Palmintier.......... 250
      Ms. Amy A. Jennings Jaasma
                                                             11
13    GOFORTH GEREN EASTERLING
      4900 Woodway, Suite 750                                12   Changes and Signature........................ 280
14    Houston, Texas 77056                                        Reporter's Certificate....................... 282
15                                                           13
     APPEARING FOR ANADARKO PETROLEUM COMPANY:               14
16    Mr. Robert E. Guidry                                   15
      Ms. Lori A. Waters                                     16            REQUESTED DOCUMENTS/INFORMATION
17    KUCHLER POLK SCHELL WEINER & RICHESON
      1615 Poydras Street, Suite 1300
                                                             17
18    New Orleans, Louisiana 70112                                Number                Description           Page/Line
19                                                           18
     APPEARING FOR CAMERON INTERNATIONAL CORPORATION:        19   1      Copy of Mr. Kronenberger's
20    Ms. Kathleen A. Gallagher                                         current Curriculum Vitae                      36/19
      BECK, REDDEN & SECREST                                 20
21    One Houston Center                                     21
      1221 McKinney Street, Suite 4500
22    Houston, Texas 77010-2010                              22
23                                                           23
24                                                           24
25                                                           25

                                                                                                                1 (Pages 1 to 4)
                                      PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 17 of 86

                                        213                                                215
    1




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                                        214                                                216




1                                             1




                                              25   Q.             All right, sir. I know
                                                            54 (Pages 213 to 216)
                    PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 18 of 86

                                                  217                                                    219
 1   that you had worked on the DEEPWATER HORIZON for
 2   some hitches in 2003. At any time when you were
 3   on the DEEP -- DEEPWATER HORIZON, did you see the
 4   Transocean crew perform its work and duties in a
 5   negligent fashion?
 6           MR. GUIDRY: Object to form.
 7      A. No.
 8           MR. HARTLEY: Object, form.                 8      Q.         Did you ever know of any evidence
 9           MR. BROADHEAD: Object to form.             9   that any of the crew was not knowledgeable,
10      Q. (By Mr. Goforth) Did you see the crew act   10   lacked knowledge about their job?
11   negligently in any way?                           11      A. No.
12           MR. HARTLEY: Object to --                 12
13      A. I didn't, no.
14           MR. HARTLEY: -- form.
15           MR. BROADHEAD: Object, form.
16      Q. (By Mr. Goforth) Are you aware of any
17   Transocean employee or Manager involved in the
18   Macondo Prospect, ever, in connection with the
19   Macondo Well, deliberately want to cause injury
20   to the environment or to any other person?
21      A. No.
22           MR. BROADHEAD: Object, form.
23      Q. (By Mr. Goforth) The same question:
24   Asking if you saw or are aware, know any evidence
25   of any Transocean employee or Manager on the
                                                  218                                                    220
 1   DEEPWATER HORIZON acting maliciously or not
 2   caring about causing injury to another person or
 3   the environment?
 4            MR. BROADHEAD: Object, form.
 5            MR. HARTLEY: Object, form.
 6     A. No.
 7     Q. (By Mr. Goforth) Same question: You seen
 8   any Transocean employee or Manager willfully
 9   inflicting harm on any person or on the
10   environment?                                     1
11     A. No.
12




                                                                            55 (Pages 217 to 220)
                        PURSUANT TO CONFIDENTIALITY ORDER
          Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 19 of 86

                                                         1                                                                    3
           UNITED STATES DISTRICT COURT                       1   APPEARING FOR WEATHERFORD:
           EASTERN DISTRICT OF LOUISIANA                           Mr. Edward D. Wegmann
                                                              2    JONES, WALKER, WAECHTER, POITEVENT,
                                                                   CARRERE & DENEGRE, LLP
     IN RE: OIL SPILL    ) MDL NO. 2179                       3    201 St. Charles Avenue
     BY THEOIL RIG     )                                           New Orleans, Louisiana 70170-5100
                                                              4
     "DEEPWATER HORIZON" IN ) SECTION "J"                     5   APPEARING FOR M-I SWACO:
     THE GULF OF MEXICO, ON )                                      Mr. Lucas T. Elliot
     APRIL 20, 2010   ) JUDGE BARBIER                         6    MORGAN, LEWIS & BOCKIUS, LLP
                 ) MAG. JUDGE SHUSHAN                              1000 Louisiana Street, Suite 4000
                                                              7    Houston, Texas 77002-5006
                                                              8
                                                                  APPEARING FOR HALLIBURTON:
                                                              9    Mr. Bruce W. Bowman, Jr.
                                                                   Mr. Floyd R. Hartley, Jr.
                                                             10    Mr. Israel R. Silvas
                                                                   GODWIN RONQUILLO
                                                             11    Renaissance Tower
                                                                   1201 Elm Street, Suite 1700
                                                             12    Dallas, Texas 75270-2041
                                                             13
                                                                  APPEARING FOR HALLIBURTON LAW DEPARTMENT:
                                                             14    Ms. Stacy S. Russell
                                                                   HALLIBURTON LAW DEPARTMENT
               *****************                             15    2107 City West Boulevard
                  VOLUME 1                                         Building 2
                                                             16    Houston, Texas 77042-3051
               *****************                             17
                                                                  APPEARING FOR THE STATE OF LOUISIANA:
                                                             18    Mr. Henry Dart
        Deposition of James Harold Prestidge, Jr.,                 510 North Jefferson Street
                                                             19    Covington, Louisiana 70433
     taken at the Pan-American Building, 601 Poydras         20
     Street, 11th Floor, New Orleans, Louisiana,                  ALSO PRESENT:
     70130, on the 21st day of September, 2011.              21    Mr. Mark Hendrix, Videographer
                                                                   Mr. Danny Damiani
                                                             22
                                                             23
                                                             24
                                                             25

                                                         2                                                                    4
 1         APPEARANCES                                        1                INDEX
 2                                                            2           VIDEOTAPED ORAL DEPOSITION OF
 3
 4   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:
                                                                           JAMES HAROLD PRESTIDGE, JR.
       Mr. Guy E. Matthews                                    3              SEPTEMBER 21, 2011
 5     Mr. Joshua Shamburger                                                   VOLUME 1
       MATTHEWS, LASON & JOHNSON                              4
 6     200 Bering Drive, Suite 700                            5
       Houston, Texas 77057-3778                              6   Appearances.................................... 2
 7
 8   APPEARING FOR BP, INC.:
                                                              7
       Ms. Barbara M. Harding                                     Direct Examination-Mr. Matthews............... 10
 9     KIRKLAND & ELLIS                                       8   Examination-Mr. Dart.......................... 83
       655 Fifteenth Street, NW                                   Examination-Ms. Harding...................... 114
10     Washington, D.C. 20005-5793                            9   Examination-Mr. King......................... 302
11     Ms. Betty X. Yang                                          Examination-Mr. Hart......................... 315
       KIRKLAND & ELLIS
12     300 North LaSalle                                     10   Examination-Mr. Bowman....................... 318
       Chicago, Illinois 60654                               11
13                                                                Changes and Signature........................ 324
14   APPEARING FOR TRANSOCEAN:                               12   Reporter's Certificate....................... 326
       Mr. Ryan D. King                                      13
15     GOFORTH GEREN EASTERLING                              14
       4900 Woodway, Suite 750
16     Houston, Texas 77056                                  15
17                                                           16           REQUESTED DOCUMENTS/INFORMATION
     APPEARING FOR ANADARKO PETROLEUM COMPANY:               17
18     Mr. Joseph H. Hart, IV                                     Number             Description              Page/Line
       Mr. Thomas A. Porteous                                18
19     KUCHLER POLK SCHELL WEINER & RICHESON
       1615 Poydras Street, Suite 1300
                                                             19   1     Halliburton Management System
20     New Orleans, Louisiana 70112                                     Manual                 88/19
21                                                           20
     APPEARING FOR CAMERON INTERNATIONAL CORPORATION:             2      2009 Performance Improvement
22     Mr. Alex Roberts                                      21         Initiative HSE Plan       127/7
       BECK, REDDEN & SECREST                                22
23     One Houston Center
       1221 McKinney Street, Suite 4500
                                                             23
24     Houston, Texas 77010-2010                             24
25                                                           25

                                                                                                                1 (Pages 1 to 4)
                                     PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 20 of 86

                                                   305                                                          307




1




                                                     15         Q.          And earlier you testified a little
                                                     16      bit about when Halliburton employees are sent out
                                                     17      to non-Halliburton sites, such as drilling rigs,
                                                     18      you said that they rely on the Rig's Safety
                                                     19      System. Is that right?
                                                     20         A. Typically.
                                                     21         Q.          And I guess my question is: Based
                                             Do      22      on your -- your experience with Halliburton,
23   you know -- are you aware of any evidence that  23      would you expect that Halliburton would send its
24   any Transocean personnel in connection with the 24      employees out to work on the DEEPWATER HORIZON if
25   DEEPWATER HORIZON deliberately wanted to cause 25       it did not believe the Rig's Safety Systems were
                                                   306                                                          308
 1   injury or the environment or to any person?         1   adequate to protect the Safety of its employees?
 2      A. No.                                           2     A. That's correct.
 3      Q. Okay. Are you aware of any evidence that
 4   any Transocean personnel, in connection with the
 5   DEEPWATER HORIZON, was malicious or didn't care
 6   in any way about causing injury to another human
 7   or to the environment?
 8      A. No.
 9      Q. Okay. Are you aware of any evidence that
10   Transocean personnel, in connection with the      1
11   DEEPWATER HORIZON, willfully inflicted harm on
12   any person or on the environment?
13      A. No, not a word.
14      Q. And since you've been with Halliburton,
15   have you ever received feedback from Halliburton
16   employees that Transocean employees were
17   conducting their job in a way that indicated that
18   they were indifferent to the health and ware --
19   welfare of other individuals who were working on
20   the rig?
21      A. I have not received that.




                                                                              77 (Pages 305 to 308)
                         PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 21 of 86

                                                   415                                                   417
           UNITED STATES DISTRICT COURT                   1      A P P E A R A N C E S (Continued)
                                                          2   APPEARING FOR HALLIBURTON:
           EASTERN DISTRICT OF LOUISIANA                  3   Mr. Richard W. Beckler
       IN RE: OIL SPILL     ) MDL NO. 2179                    Mr. Jason B. Hutt
                                                          4   BRACEWELL GULIANI
       by the OIL RIG     )                                   2000 K Street NW, Suite 500
       "DEEPWATER HORIZON" in ) SECTION "J"               5   Washington, District of Columbia
                                                              20006-1872
       the GULF OF MEXICO, ON )                           6
       APRIL 20, 2010    ) JUDGE BARBIER                      Ms. Stacy S. Russell
                                                          7   HALLIBURTON
                    )                                         10200 Bellaire Boulevard
                    ) MAG. JUDGE                          8   Houston, Texas 77072
                                                          9   APPEARING FOR WEATHERFORD:
                    ) SHUSHAN                            10   Mr. Wayne G. Zeringue, Jr.
                                                              Ms. Lauren Courtney Mastio
                                                         11   JONES, WALKER, WAECHTER, POITEVENT,
                                                              CARRERE & DENEGRE, L.L.P.
                                                         12   201 St. Charles Avenue
                                                              New Orleans, Louisiana 70170
                                                         13
                                                              APPEARING FOR DRIL-QUIP, INC.:
                                                         14
                                                              Mr. Dennis Barrow
                                                         15   WARE, JACKSON, LEE & CHAMBERS
                                                              America Tower, 42nd Floor
                                                         16   2929 Allen Parkway
                                                              Houston, Texas 77019-7101
                                                         17
                                                              APPEARING FOR M-I SWACO:
                                                         18
                                                              Mr. Steven Luxton
                                                         19   MORGAN, LEWIS & BOCKIUS, L.L.P.
                                                              1000 Louisiana Street, Suite 4000
                                                         20   Houston, Texas 77002-5006
                     VOLUME 2 OF 2                       21   APPEARING FOR THE UNITED STATES:
                                                         22   Ms. Jessica Sullivan
                                                              U.S. DEPARTMENT OF JUSTICE
         Deposition of THOMAS ROTH, taken at             23   TORT BRANCH, CIVIL DIVISION
       Hilton St. Charles Hotel, 333 St. Charles              1425 New York Avenue, N.W.
       Avenue, Le Moyne Room, New Orleans,               24   Suite 10100
                                                              Washington, D.C. 20005
       Louisiana, on the 26th of July, 2011.             25

                                                   416                                                   418
 1         APPEARANCES                                    1      A P P E A R A N C E S (Continued)
 2                                                        2   APPEARING FOR CAMERON:
 3   APPEARING FOR THE PLAINTIFFS' STEERING               3   Ms. Kathleen A. Gallagher
     COMMITTEE:                                               BECK REDDEN & SECREST
 4                                                        4   One Houston Center
     Mr. Thomas Thornhill                                     1221 McKinney Street
 5   Ms. Emily Gebhardt                                   5   Suite 4500
     THORNHILL LAW FIRM                                       Houston, Texas 77010
 6   1308 Ninth Street                                    6
     Slidell, Louisiana 70458
 7
                                                              APPEARING FOR MOEX:
                                                          7
     APPEARING FOR BP, INC.:
 8                                                            Mr. Greg T. Lembrich
     Ms. Barbara Harding                                  8   PILLSBURY WINTHROP SHAW PITTMAN, LLP
 9   Mr. David S. Mitchell                                    1540 Broadway
     KIRKLAND & ELLIS                                     9   New York, New York 10036
10   333 South Hope Street                               10   APPEARING FOR THE STATE OF LOUISIANA:
     Los Angeles, California 90071                       11   Mr. Douglas R. Kraus
11                                                            KANNER & WHITELEY, LLC
     APPEARING FOR TRANSOCEAN:                           12   701 Camp Street
12                                                            New Orleans, Louisiana 70130
     Mr. Daniel Goforth                                  13
13   Ms. Kate H. Easterling                                   APPEARING FOR THE WITNESS:
     GOFORTH GEREN EASTERLING, LLP                       14
14   4900 Woodway                                             Mr. Michael Madigan
     Suite 750                                           15   Mr. John C. Pitts
15   Houston, Texas 77056                                     ORRICK, HERRINGTON & SUTCLIFFE, LLP
16   APPEARING FOR ANADARKO PETROLEUM COMPANY:           16   1152 35th Street, NW
17   Ms. Sarah E. Iiams                                       Washington, DC 20005
     Ms. Leigh Ann Schell                                17
18   KUCHLER POLK
                                                              ALSO PRESENT:
     1615 Poydras Street
                                                         18
19   Suite 1300
     New Orleans, Louisiana 70112                             Mr. James Deel, Videographer
20                                                       19
     APPEARING FOR HALLIBURTON:                               REPORTED BY:
21                                                       20     THERESE J. CASTERLINE, CSR, RMR, CRR
     Mr. Gavin Hill                                             Certified Shorthand Reporter
22   Mr. Joel Beus                                       21     State of Texas
     GODWIN RONQUILLO                                           Certified Shorthand Reporter
23   1201 Elm Street, Suite 1700                         22     State of Louisiana
     Dallas, Texas 75270-2041                            23
24                                                       24
25                                                       25

                                                                                        1 (Pages 415 to 418)
                                     PURSUANT TO CONFIDENTIALITY ORDER
     Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 22 of 86

                                           655                                  657
                                                    1




 7     Q. (BY MR. GOFORTH) Are you aware of
 8   any evidence that a Transocean employee or
 9   manager was negligent in performing his or
10   her job in connection with the Macondo     1
11   prospect?
12          MS. HARDING: Object to form.
13          MR. HILL: Object to form.
14          MR. MADIGAN: Same objection.
15     A. I'm not aware of any, sir.
16     Q. (BY MR. GOFORTH) Are you aware of
17   any Transocean employee or manager
18   involved in the Macondo prospect ever, in
19   connection with the Macondo prospect,
20   deliberately wanting to cause injury to
21   the environment or any person?
22          MR. MADIGAN: Same objection.
23          MS. HARDING: Object to form.
24          MR. HILL: Same objection.
25     A. I'm not aware of anyone to -- to
                                           656                                  658
 1   fill that role.
 2      Q. (BY MR. GOFORTH) Are you aware of
 3   any Transocean employee or manager
 4   involved in the Macondo prospect ever, in
 5   connection with the Macondo prospect,
 6   acting maliciously or not caring about
 7   causing injury to another human or the
 8   environment?
 9            MS. HARDING: Object to form.
10            MR. MADIGAN: Same objection.      1
11            MR. HILL: Object to form.
12      A. I'm not aware of any behavior in
13   that area.
14      Q. (BY MR. GOFORTH) Thank you.
15            Are you aware of any
16   Transocean employee or manager involved in
17   the Macondo prospect ever, in connection
18   with the Macondo prospect, willfully
19   inflicting harm on any person or on the
20   environment?
21            MR. HILL: Object to form.
22            MR. MADIGAN: Same objection.
23      A. I'm not aware of any behavior
24   towards that description.
25
                                                         61 (Pages 655 to 658)
                    PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 23 of 86




    1               I, THOMAS ROTH, have read the
    2        foregoing deposition and hereby affix my
    3        signature that same is true and correct,


    5

    6

    1                                       'rHOMAS ROTH
    o        THE STATE
    9        COUNTY OF'
   10               Before
   11        on this day personally appeared
   12        THOMAS ROTH,    known to me (or proved to me
   13        on the oath of   i;./tJ(lJA5   €om _  or through
   14        _________________ ) to be the person whose

   15        name is subscribed to the foregoing
   16        instrument and executed the same for the
   17        purposes and consideration therein
   18        expressed.
   19                                                      office
  20         this
                      /ITH
                     IL.~
  21
                                                                 SHARON ll. PATE
  22                                                       Notary PubliC. State of Te)(ilS
                                                            My Commission Expires
                                                                 August 23, 2012
  23                   NOTARY PUBLIC IN AND
  24                   THE STATE OF     r~X (-}S
  25                   My commission expires:        NUG:, 227 2.012
                                                    -----j


                    PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 24 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                      Reported by:

MICHAEL C. SERIO VOL. II                                                                       April 29, 2011   JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                       Page 368
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                                                        VOLUME II

                      Deposition of MICHAEL C. SERIO,
               taken in the Pan American Life Center,
               Bayou Room, 11th Floor, 601 Poydras Street,
               New Orleans, Louisiana 70130, on Friday,
               April 29, 2011.



               APPEARANCES:


                                 deGRAVELLES, PALMINTIER, HOLTHAUS, &
                                 FRUGÉ
                                 (By: John W. deGravelles, Esquire,
                                       Sherry Lassere, Esquire)
                                 618 Main Street
                                 Baton Rouge, Louisiana 70801-1910
                                     (Plaintiff's Steering Committee)




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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 25 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                            Reported by:

MICHAEL C. SERIO VOL. II                                                                       April 29, 2011     JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 457                                              Page 459
   1
                                                                                                       2      Q. As a lead technical professional
                                                                                                       3   at Halliburton, you were not aware of
                                                                                                       4   anyone within Halliburton that had concerns
                                                                                                       5   with the DEEPWATER HORIZON's rig crew,
                                                                                                       6   their competency in particular?
                                                                                                       7      A. No, sir.
                                                                                                       8      Q. You personally had no concerns
                                                                                                       9   with the rig crew's competency; correct?
 10                                                                                                   10      A. No, sir.
                                                                                                      11      Q. As a lead technical professional
                                                                                                      12   at Halliburton, you were not aware of
                                                                                                      13   anyone within Halliburton that had any
                                                                                                      14   concerns regarding the ability of the
                                                                                                      15   DEEPWATER HORIZON rig to safely perform its
                                                                                                      16   duties at the Macondo well; correct?
                                                                                                      17      A. Correct.
                                                                                                      18      Q. And you personally had no
                                                                                                      19   problems with that; correct?
                                                                                                      20      A. No, sir.




                                                                                           Page 458                                              Page 460




 10                                                                                                   10




                                                                                                                          24 (Pages 457 to 460)
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Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 26 of 86
              Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 27 of 86
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

VINCENT TABLER VOL. II June 14, 2011                                                           THU BUI, CCR, RPR

                                                                                                               Page 369
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                            )         MDL NO. 2179
            by the OIL RIG,                             )
            DEEPWATER HORIZON in                        )         SECTION "J"
            the GULF OF MEXICO,                         )
            April 20, 2010                              )         JUDGE BARBIER
                                                        )
                                                        )         MAG. JUDGE
                                                        )         SHUSHAN




                                            ***********
                                              VOLUME 2
                                            ***********




                       Videotaped deposition of VINCENT
            TABLER, taken at Pan-American Building, 601
            Poydras Street, 11th Floor, New Orleans,
            Louisiana, 70130, on the 14th of June,
            2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                          Telephone: (504) 525-9100
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              Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 28 of 86
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                  Reported by:

VINCENT TABLER VOL. II June 14, 2011                                                                             THU BUI, CCR, RPR
                                                                        Page 526                                                      Page 528




                                                                                           18              I understand that you had
                                                                                           19   spent about a year and two months on the
                                                                                           20   DEEPWATER HORIZON prior to April 20th,
                                                                                           21   2010, is that correct?
                                                                                           22      A. Yes, ma'am.
                                                                                           23      Q. And prior to that, you had spent
                                                                                           24   time on the DEEPWATER HORIZON, correct?
                                                                                           25   Prior to -- prior to working on the
                                                                        Page 527                                                      Page 529
                                                                                            1   DEEPWATER HORIZON on the Macondo well in
                                                                                            2   February of 2009, you had worked on the
                                                                                            3   DEEPWATER HORIZON before that, correct?
                                                                                            4       A. No, ma'am --
                                                                                            5          MR. HARTLEY:
                                                                                            6             Object to form.
                                                                                            7       A. -- I've never been on the
                                                                                            8   DEEPWATER HORIZON before I was assigned to
                                                                                            9   it.
                                                                                           10       Q. Okay. So you -- you worked on
                                                                                           11   the DEEPWATER HORIZON from February 2009
                                                                                           12   through April 20th, 2010; is that correct?
                                                                                           13       A. Yes, ma'am, that's correct.
                                                                                           14       Q. And you had worked with the
                                                                                           15   Transocean crew on the DEEPWATER HORIZON
                                                                                           16   that entire time, correct?
                                                                                           17       A. Yes, ma'am, that's correct.
                                                                                           18       Q. And the Transocean crew was a
                                                                                           19   skilled crew, correct?
                                                                                           20          MR. CHEN:
                                                                                           21             Objection, form.
                                                                                           22       A. Yes, ma'am.
                                                                                           23       Q. They were knowledgeable?
                                                                                           24       A. Yes, ma'am.
                                                                                           25       Q. They were capable of performing

                                                                                                               41 (Pages 526 to 529)
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              Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 29 of 86
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                    Reported by:

VINCENT TABLER VOL. II June 14, 2011                                                                              THU BUI, CCR, RPR
                                                                        Page 530                                                        Page 532
  1     their jobs?                                                                         1          MR. HARTLEY:
  2             MR. CHEN:                                                                   2            Object to form.
  3               Objection, form.                                                          3      A. Yes, ma'am.
  4             MR. HARTLEY:                                                                4      Q. They were knowledgeable?
  5               Object to form.                                                           5          MR. HARTLEY:
  6        A. Yes, ma'am.                                                                   6            Object to form.
  7        Q. And in your view, Transocean                                                  7      A. As far as I knew, yes, ma'am.
  8     did -- did perform its job, correct?                                                8      Q. You trusted them?
  9        A. Yes, ma'am.                                                                   9      A. Yes, ma'am.
 10             MR. HARTLEY:                                                               10      Q. Did you ever see any of those
 11               Object to form.                                                          11   four men perform their job on the DEEPWATER
 12        Q. The crew members, they did their                                             12   HORIZON in a negligent fashion?
 13     jobs?                                                                              13          MR. HASSINGER:
 14             MR. HASSINGER:                                                             14            Objection.
 15               Objection.                                                               15      A. No, ma'am.
 16             MR. HARTLEY:                                                               16      Q. Are you aware of any Transocean
 17               Object to form.                                                          17   employee or manager involved in the Macondo
 18        A. Yes, ma'am.                                                                  18   prospect ever deliberately wanting to cause
 19        Q. You trusted the Transocean crew                                              19   injury to the environment or any other
 20     members?                                                                           20   person?
 21        A. Yes, ma'am.                                                                  21          MR. HARTLEY:
 22        Q. I'd like to turn specifically to                                             22            Object to form.
 23     the -- the Transocean crew members that                                            23      A. No, ma'am.
 24     were working the night of April 20th, 2010,                                        24      Q. Are you aware of any Transocean
 25     okay?                                                                              25   employee or manager involved in the Macondo
                                                                        Page 531                                                        Page 533
  1         A. Uh-huh.                                                                      1   prospect ever, in connection with the
  2         Q. You knew Mr. Anderson, Jason                                                 2   Macondo prospect, acting maliciously or not
  3     Anderson, the toolpusher that was on tour                                           3   caring about causing injury to another
  4     on the night of April 20th, 2010, correct?                                          4   human or the environment?
  5         A. Yes, ma'am, that's correct.                                                  5          MR. HASSINGER:
  6         Q. You had worked with him on the                                               6            Objection.
  7     DEEPWATER HORIZON?                                                                  7          MR. HARTLEY:
  8         A. Yes, ma'am.                                                                  8            Object to form.
  9         Q. And you knew Dewey Revette, the                                              9      A. No, ma'am.
 10     driller that was on tour on the evening of                                         10      Q. Are you aware of any Transocean
 11     April 20th, 2010?                                                                  11   employee or manager involved in the Macondo
 12         A. Yes, ma'am.                                                                 12   prospect ever -- in connection with the
 13         Q. You knew Stephen Curtis, the                                                13   Macondo prospect, willfully inflicting harm
 14     assistant driller who was on tour the night                                        14   on any person or the environment?
 15     of April 20th, 2010, correct?                                                      15          MR. HASSINGER:
 16         A. Yes, ma'am.                                                                 16            Objection.
 17         Q. And you knew Donald Clark, the                                              17          MR. HARTLEY:
 18     other assistant driller that was on tour                                           18            Object to form.
 19     the night of April 20th, 2010?                                                     19      A. No, ma'am.
 20         A. Yes, ma'am.
 21         Q. You had worked with all four of
 22     those men for over a year, correct?
 23         A. Yes, ma'am.
 24         Q. And in your view, those four men
 25     were skilled, correct?

                                                                                                                42 (Pages 530 to 533)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 30 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                      Reported By:

RICHARD FRANK VARGO VOL. II                                                                    March 31, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR


                                                                                                                                        Page 424
                                      UNITED STATES DISTRICT COURT

                                    EASTERN DISTRICT OF LOUISIANA



                    IN RE: OIL SPILL BY                                     MDL NO. 2179
                    THE OIL RIG
                    "DEEPWATER HORIZON"                                     SECTION:             J
                    IN THE GULF OF
                    MEXICO, ON APRIL 20,                                    JUDGE BARBIER
                    2010                                                    MAG. JUDGE SHUSHAN




                                                             VOLUME II

                                      (30)(b)(6)Deposition of HALLIBURTON,

               through its designated representative,

               RICHARD FRANK VARGO, and RICHARD FRANK VARGO,

               individually, 102 Kent Circle, Lafayette,

               Louisiana 70508, taken in the Pan American

               Life Center, Mardi Gras Room, 11th Floor, 601

               Poydras Street, New Orleans, Louisiana, on

               Thursday, March 31st, 2011.




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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 31 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                      Reported By:

RICHARD FRANK VARGO VOL. II                                                                    March 31, 2011   DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 585                                         Page 587
   1                                                                                                   1




 10                                                                                                   10




                                                                                           Page 586                                         Page 588




                                                                                                      10

 12                First of all, you're in the
 13        cement job. Are you aware of any mistakes
 14        with regard to the pumping or any other
 15        involvement that Transocean rig crew members
 16        made?
 17           A. I'm not aware of any mistakes.




                                                                                                                       42 (Pages 585 to 588)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 32 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported By:

RICHARD FRANK VARGO VOL. II                                                                    March 31, 2011     DIANE TEWIS CLARK, RPR, RMR, CRR

                                                                                           Page 589                                                 Page 591
   1




 10




                                                                                                      15      Q. All right. Did -- did the
                                                                                                      16   Transocean displacement of the cement, as you
                                                                                                      17   described it, was that performed efficiently
                                                                                                      18   and accurately and properly as far as you
                                                                                                      19   know?
                                                                                                      20      A. As far as I know, yes, sir.




                                                                                           Page 590                                                 Page 592




 10                                                                                                   10




                                                                                                                            43 (Pages 589 to 592)
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Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 33 of 86




                                                                     976

     1
     2

     3

     4

     5                     WITNESS' CERTIFICATE
     6

     7                     I have read or have had the
     8    foregoing testimony read to me and hereby
     9    certify that it is a true and correct
   10     transcription of my testimony with the
   11     exception of any attached corrections or
   12     changes.
   13

   14
   15
                                                      VARGO,   JR.
   16
   17

   18

   19
          PLEASE INDICATE
   20     ( Y NO CORRECTIONS
          (V) CORRECTIONS; ERRATA SHEET(S) ENCLOSED
   21
   22

   23
   24

   25

                            GAUDET, KAXSER, L.L.C.
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                                                         1                                                            3
            UNITED STATES DISTRICT COURT                      1   APPEARING FOR THE UNITED STATES (CONTINUED):
                                                              2    Mr. Charles B. Wallace
            EASTERN DISTRICT OF LOUISIANA                          U.S. DEPARTMENT OF THE INTERIOR
                                                              3    1849 C Street, N.W.
     IN RE: OIL SPILL ) MDL NO. 2179                               Washington, DC 20240
     by the OIL RIG, )                                        4    charles.wallace@sol.doi.gov
                                                              5
     DEEPWATER HORIZON in) SECTION "J"                        6   APPEARING FOR ANADARKO PETROLEUM COMPANY:
     the GULF OF MEXICO, )                                    7     Mr. Robert E. Guidry
     April 20, 2010  ) JUDGE BARBIER                                Mr. Terrance A. Prout
                                                              8     KUCHLER, POLK, SCHELL, WEINER & RICHESON,
                 )                                                  LLC
                 ) MAG. JUDGE                                 9     1615 Poydras Street, Suite 1300
                 ) SHUSHAN                                          New Orleans, Louisiana 70112
                                                             10     rguidry@kuchlerpolk.com
                                                                    tprout@kuchlerpolk.com
                                                             11
                                                             12
                                                                  APPEARING FOR TRANSOCEAN:
                                                             13
                                                                    Ms. Julie S. Stanger
                                                             14     Mr. John J. Michael
                                                                    SUTHERLAND, ASBILL & BRENNAN, LLP
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                                                                    Houston, Texas 77002-6760
                                                             16     julie.stanger@sutherland.com
                                                                    john.michael@sutherland.com
                                                             17
                                                             18
            Deposition of BRYAN DOMANGUE, taken at
                                                                  APPEARING FOR HALLIBURTON:
     Pan-American Building, 601 Poydras Street, 11th         19
     Floor, New Orleans, Louisiana, 70130, on                       Mr. Jerry C. von Sternberg
     September 21, 2011.                                     20     Ms. Angelle Adams
                                                                    GODWIN, RONQUILLO, PC
                                                             21     1331 Lamar, Suite 1665
                                                                    Houston, Texas 77010
                                                             22     jvonsternberg@godwinronquillo.com
                                                                    aadams@godwinronquillo.com
                                                             23
                                                             24
                                                             25

                                                         2                                                            4
 1          APPEARANCES                                       1   APPEARING FOR CAMERON:
 2                                                            2     Mr. Geoff Gannaway
     APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:
 3                                                                  BECK, REDDEN & SECREST
       Mr. Frank M. Petosa                                    3     1221 McKinney Street, Suite 4500
 4     MORGAN & MORGAN                                              Houston, Texas 77010-2010
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 5     Davie, Florida 33314
       fpetosa@forthepeople.com                               5
 6                                                            6   APPEARING FOR THE STATE OF LOUISIANA:
 7                                                            7     Mr. David Allen Pote
     APPEARING FOR BP, INC.:                                        KANNER & WHITELEY
 8
       Ms. Emily Dempsey                                      8     701 Camp Street
 9     KIRKLAND & ELLIS, LLP                                        New Orleans, Louisiana 70130
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11                                                           11   APPEARING FOR WEATHERFORD:
12    Mr. Don K. Haycraft                                    12     Mr. L. Etienne Balart
      Mr. J.T. Nesser                                               JONES WALKER
13    LISKOW & LEWIS                                         13     201 St. Charles Avenue
      701 Poydras, Street 5000
14    New Orleans, Louisiana 70139-5099
                                                                    New Orleans, Louisiana 70170
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15    jtnesser@liskow.com                                    15
16                                                           16   APPEARING FOR DRIL-QUIP:
17   APPEARING FOR THE UNITED STATES:
18     Mr. Stephen Flynn
                                                             17     Ms. Wendy Ware Bishop
       Ms. Jill Dahlmann Rosa                                       WARE, JACKSON, LEE & CHAMBERS
19     Mr. David J. Pfeffer                                  18     2929 Allen Parkway, 42nd Floor
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21     Washington, D.C. 20005                                20
       stephen.flynn@usdoj.gov                               21
22     jill.rosa@usdoj.giv                                   22
       david.j.pfeffer@usdoj.gov                             23
23
24                                                           24
25                                                           25

                                                                                                        1 (Pages 1 to 4)
                                    PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 35 of 86

                                                               165                                                       167




1:41
1:43




1:41
1:44    1                                                         10            Now, looking at -- under Enforcement
                                                                  11      Actions, the lower part of this drilling
                                                                  12      inspection form, you see that that's blank,
        13        Q.          I'd like to mark this as            13      right? In other words, your inspector didn't
        14      Exhibit 5332. Will you tell us what this is?      14      fill out any information there, did he or she?
1:42
1:44    15      Here, sir.                                        15         A. Right. Correct.
        16               (Exhibit 5332 was marked.)               16         Q. Typically, this is where the MMS
        17        A. It's an inspection form that's filled out    17      inspector would list any incidence of
        18      by our inspectors as a result of -- to check data 18      noncompliance, isn't it?
        19      on the inspection that they'd made.               19         A. Correct.
1:42
1:44    20        Q. (BY MS. STANGER) Right. And you see on 20               Q. And an incidence of noncompliance, the
        21      the third row down it says: Rig name TO,          21      abbreviation that your agency uses is an INC,
        22      DEEPWATER HORIZON.                                22      right?
        23           Right?                                       23         A. Yes.
        24        A. Yes.                                         24         Q. So you agree, don't you, that within this
1:42
1:44    25        Q. And the date that this inspection was        25      particular section for this inspection conducted
                                                               166                                                       168
            1   conducted was on April 1st, 2010, wasn't it?          1   on April 1st, 2010, no INC was issued, right?
            2     A. Yes.                                             2      A. For the time period that they were
            3     Q. You agree that this is the form used by          3   there --
            4   your agency in conducting its announced or            4      Q. Correct.
 1:44
1:42        5   unannounced drilling inspections, isn't it?           5      A. -- when this document was entered, there
            6           MS. ROSA: Object to the form.                 6   were no INCs.
            7     A. One of many forms that's used by the             7      Q. That's okay. The MMS did not issue an
            8   agency, yes.                                          8   INC on its April 1st, 2010, inspection, did it,
                                                                      9   sir?
 1:44
1:42    1                                                            10      A. It would appear no.
                                                                     11      Q. Now, let me ask you a few questions about
                                                                     12   inspections generally. In reviewing the
                                                                     13   documents produced by your agency, it looks like
                                                                     14   in the year prior to incident, the MMS inspected
 1:45
1:43                                                                 15   the DEEPWATER HORIZON every four to six weeks.
                                                                     16   Does that sound about right to you?
                                                                     17      A. That's about right.
                                                                     18      Q. So that means in a one-year period, the
                                                                     19   MMS inspected the DEEPWATER HORIZON approximately
 1:45
1:43                                                                 20   eight to ten times; is that right, sir?
                                                                     21            MS. ROSA: Object to the form.
                                                                     22      A. In district operations we would attempt
                                                                     23   to make a rig inspection once every month. There
                                                                     24   are some instances where weather would preclude
                                                                     25   that. So --

                                                                                          42 (Pages 165 to 168)
                                    PURSUANT TO CONFIDENTIALITY ORDER
                Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 36 of 86

                                                            169                            171
       1         Q. (BY MS. STANGER) I understand.
       2         A. -- one could deduct, based off of your        2
       3      time frame, four to six weeks, that eight
       4      inspections at a minimum would have been -- would
:45
:50    5      have been conducted.
       6         Q. Exactly. Now, each time the MMS
       7      inspected the DEEPWATER HORIZON, this form would
       8      have been filled out, right, sir?
       9         A. I would hope so, yes.
:45
:50   10         Q. And if any INCs had been issued during      1
      11      those inspections, that would have been indicated
      12      in this bottom portion here, the enforcement
      13      action, right?
      14         A. Yes, one would hope so.
:46
:50   15         Q. Isn't it true that in the year -- the
      16      year prior to the incident, that no INCs were
      17      issued by the MMS with respect to the DEEPWATER
      18      HORIZON?
      19               MS. ROSA: Object to the form.
:46
:50   20      Outside the scope of his designation.
      21           You can answer.
      22         A. I am truly not aware of any of the INCs
      23      that were issued on the DEEPWATER HORIZON prior
      24      to the incident.
      25         Q. (BY MS. STANGER) But if any had been
                                                            170                            172
          1   issued, you said that they would --
          2      A. This, again, would be a good place to
          3   look.

:46
:51       5




:46
:51   1                                                           1




:49
:51




:49
:51




                                                                      43 (Pages 169 to 172)
                                   PURSUANT TO CONFIDENTIALITY ORDER
         Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 37 of 86

                                                         1                                                           3
             UNITED STATES DISTRICT COURT                     1
                                                                  APPEARING FOR ANADARKO PETROLEUM COMPANY:
             EASTERN DISTRICT OF LOUISIANA                    2       Ms. Milele St. Julien
                                                                      Mr. Thomas A. Porteous
      IN RE: OIL SPILL     ) MDL NO. 2179                     3       KUCHLER POLK SCHELL WEINER & RICHESON
                                                                      1615 Poydras Street, Suite 1300
      BY THEOIL RIG      )                                    4       New Orleans, Louisiana 70112
      "DEEPWATER HORIZON" IN ) SECTION "J"                    5
      THE GULF OF MEXICO, ON )                                    APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
                                                              6       Mr. William J. Vigen
      APRIL 20, 2010    ) JUDGE BARBIER                               WILLIAMS & CONNOLLY
                   ) MAG. JUDGE SHUSHAN                       7       725 Twelfth Street, N.W.
                                                                      Washington, D.C. 20005
                                                              8
                                                              9   APPEARING FOR WEATHERFORD:
                                                                      Mr. Joseph L. Lowenthal, Jr.
                                                             10       JONES, WALKER, WAECHTER, POITEVENT,
                                                                        CARRERE & DENEGRE, LLP
                                                             11       201 St. Charles Avenue
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                                                             13   APPEARING FOR DRIL-QUIP, INC.:
                                                                      Ms. Wendy Ware Bishop
                                                             14       WARE, JACKSON, LEE & CHAMBERS
                                                                      America Tower, 42nd Floor
                                                             15       2929 Allen Parkway
                                                                      Houston, Texas 77019-7101
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                  VOLUME 1 of 1                              17   APPEARING FOR M-I SWACO:
                                                                      Mr. John C. Funderburk
                 *****************                           18       MORGAN, LEWIS & BOCKIUS, LLP
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                                                             19       Houston, Texas 77002-5006
                                                             20
               Deposition of ERIC NEAL, taken at                  APPEARING FOR HALLIBURTON:
        Pan-American Building, 601 Poydras Street,           21       Ms. Gwen E. Richard
      11th Floor, New Orleans, Louisiana, 70130, on                   GODWIN RONQUILLO
                                                             22       1331 Lamar, Suite 1665
      July 21, 2011.                                                  Houston, Texas 77010-3133
                                                             23
                                                                      Ms. Lauren L. Mitchell
                                                             24       GODWIN RONQUILLO
                                                                      1201 Elm Street, Suite 1700
                                                             25       Dallas, Texas 75270-2041

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 1          APPEARANCES
 2
                                                              1    ALSO PRESENT:
     APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:                 Mr. Perry L. Jennings
 3       Mr. Walter J. Leger, Jr.
         Ms. Christine E. Sevin                               2        AFGE LOCAL 3457
 4       LEGER & SHAW                                                  P.O. Box 10342
         600 Carondelet Street, 9th Floor
 5       New Orleans, Louisiana 70130                         3        New Orleans, Louisiana 70183
 6
     APPEARING FOR THE WITNESS AND THE UNITED STATES:
                                                              4        Mr. James Deel, Videographer
 7       Ms. Jill Dahlmann Rosa                               5
         Mr. Stephen Flynn
 8       UNITED STATES DEPARTMENT OF JUSTICE
                                                              6
         CIVIL DIVISION, TORTS BRANCH                         7
 9       AVIATION & ADMIRALTY SECTION
         P.O. Box 14271                                       8
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11       Mr. Charles B. Wallace
         U.S. DEPARTMENT OF THE INTERIOR                     10
12       OFFICE OF THE SOLICITOR
         1849 C Street, N.W., Room 6453
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14
     APPEARING FOR BP, INC.:                                 13
15       Mr. Christopher W. Keegan                           14
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17
          Ms. Michele E. Gutrick                             17
18        KIRKLAND & ELLIS
          655 Fifteenth Street, NW                           18
19        Washington, D.C. 20005-5793                        19
20
     APPEARING FOR TRANSOCEAN:                               20
21       Mr. M. Benjamin Alexander                           21
         Mr. Robert L. Blankenship
22       PREIS & ROY                                         22
         Versailles Centre, Suite 400
23       102 Versailles Boulevard                            23
         Lafayette, Louisiana 70501                          24
24
25                                                           25
                                                                                                      1 (Pages 1 to 4)
                                     PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 38 of 86

                                               129                                                   131
7:07
8:35                                                  1




                                                      7       Q. What was the DEEPWATER HORIZON's
                                                      8   reputation in terms of safety and performance
                                                      9   as a drilling rig in the Gulf of Mexico
                                                     10   within MMS?
                                                     11       A. From what I -- from my
                                                     12   experience they're one of the best.
                                                     13       Q. Did you find the crew to be
                                                     14   competent to perform the operations or any
                                                     15   operations you may have witnessed safely and
                                                     16   effectively?
                                                     17       A. I don't recall the specific
                                                     18   details.
                                                     19       Q. Did you ever observe any
                                                     20   problems or issues with crew competency on
                                                     21   the DEEPWATER HORIZON?
                                                     22       A. I would say no, simply because I
                                                     23   haven't had any issues with Transocean.
                                                     24       Q. Okay. Do you find the crew or
                                                     25   believe the crew to be safety conscious?
                                               130                                                   132
9:49
 :54                                                  1       A. I would say Transocean as a
9:56       2                                          2   whole safety conscious is very good.
9                                                     3       Q. Okay. You believe Transocean
9                                                     4   strives to remain in full compliance with all
9                                                     5   MMS regulations?
0                                                     6       A. Yes.
0                                                     7       MS. ROSA:
0                                                     8            Object -- object to the form.
0                                                     9   EXAMINATION BY MR. ALEXANDER:
0      1                                             10       Q. And when you conducted your rig
0                                                    11   inspections on the DEEPWATER HORIZON, you did
0                                                    12   so to the best of your ability, fairly and
0                                                    13   objectively and without bias or prejudice for
0                                                    14   any of the companies working on that rig?
0                                                    15       A. Yes.
0                                                    16       Q. And you take your inspections
0                                                    17   very seriously because worker safety is at
0                                                    18   stake?
0                                                    19       A. Yes.
0                                                    20       Q. Okay. And, again, during those
                                                     21   inspections you found no issues of
                                                     22   noncompliance with any federal regulations,
                                                     23   did you?
                                                     24       A. Based off of my report, no.
                                                     25

                                                                        33 (Pages 129 to 132)
                           PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 39 of 86

                                                         1                                                           3
             UNITED STATES DISTRICT COURT                     1   APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
                                                                   Mr. William J. Vigen
             EASTERN DISTRICT OF LOUISIANA                    2    WILLIAMS & CONNOLLY
                                                                   725 Twelfth Street, N.W.
     IN RE: OIL SPILL     ) MDL NO. 2179                      3    Washington, D.C. 20005
                                                              4
     BY THEOIL RIG      )                                         APPEARING FOR WEATHERFORD:
     "DEEPWATER HORIZON" IN ) SECTION "J"                     5    Mr. L. Etienne Balart
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                                                              6       CARRERE & DENEGRE, LLP
     APRIL 20, 2010    ) JUDGE BARBIER                             201 St. Charles Avenue
                  ) MAG. JUDGE SHUSHAN                        7    New Orleans, Louisiana 70170
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                                                                  APPEARING FOR M-I SWACO:
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                                                             12   APPEARING FOR HALLIBURTON:
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                                                             13    GODWIN RONQUILLO
                                                                   1201 Elm Street, Suite 1700
                                                             14    Dallas, Texas 75270-2041
                                                             15    Ms. Gwen E. Richard
                                                                   GODWIN RONQUILLO
                                                             16    1331 Lamar, Suite 1665
                  *******************                              Houston, Texas 77010-3133
                                                             17
                     VOLUME 1                                18   APPEARING AS OBSERVER FOR THE
                  ******************                              U.S. DEPARTMENT OF THE INTERIOR:
                                                             19     Mr. Charles B. Wallace
                                                                    U.S. DEPARTMENT OF THE INTERIOR
                                                             20     OFFICE OF THE SOLICITOR
          Deposition of ROBERT NEAL, taken at                       1849 C Street, N.W.
     Pan-American Building, 601 Poydras Street,              21     Room 6453
                                                                    Washington, D.C. 20240
     11th Floor, New Orleans, Louisiana, 70130, on the       22
     19th day of July, 2011.                                 23   APPEARING FOR THE UNITED STATES:
                                                                   Mr. Stephen G. Flynn
                                                             24    U.S. DEPARTMENT OF JUSTICE
                                                                   TORT BRANCH, CIVIL DIVISION
                                                             25    1425 New York Avenue, N.W.

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 4     LEGER & SHAW                                           3
       600 Carondelet Street, 9th Floor                       4     Ms. Jill D. Rosa
 5     New Orleans, Louisiana 70130                                 U.S. DEPARTMENT OF JUSTICE
 6
     APPEARING FOR BP, INC.:
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 7     Mr. Christopher W. Keegan                                    AVIATION & ADMIRALTY SECTION
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 8     555 California Street                                        Suite 10100
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       Ms. Michele E. Gutrick
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10     KIRKLAND & ELLIS                                       8     Washington, D.C. 20044-4271
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11     Washington, D.C. 20005-5793                                APPEARING FOR DRIL-QUIP, INC.:
12                                                           10     Ms. Wendy Ware Bishop
     APPEARING FOR TransOcean:
13     Mr. Robert M. Kallum
                                                                    WARE, JACKSON, LEE & CHAMBERS
       PREIS & ROY                                           11     America Tower, 42nd Floor
14     Versailles Centre, Suite 400                                 2929 Allen Parkway
       102 Versailles Boulevard                              12     Houston, Texas 77019-7101
15     Lafayette, Louisiana 70501                            13
16     Mr. David G. Dickman
       VENABLE
                                                                  ALSO PRESENT:
17     575 Seventh Street, NW                                14    Mr. Nick Gonzalez
       Washington, D.C. 20004                                      Mr. Perry L. Jennings
18                                                           15    Ms. Kayla Barnes, videographer
19   APPEARING FOR ANADARKO PETROLEUM COMPANY:               16
       Mr. Matthew I. Kliegman                               17
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     APPEARING FOR MOEX:                                     21
23     Mr. Andrew W. Homer                                   22
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       Los Angeles, California 90017-5406                    24
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                                                                                                       1 (Pages 1 to 4)
                                         PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 40 of 86

                                           165                                                       167




3:00
3:02




3:00
3:02   1                                         1




3:00
3:02




3:00
3:02




                                           166                                                       168




       1




                                                 19      Q. Okay. And did -- based upon your
:03
:01                                              20   inspections of the HORIZON in February of 2010 and
                                                 21   March of 2010, did you form an opinion as to the
                                                 22   housekeeping propensity, so to speak -- using your
                                                 23   word -- of the crew?
                                                 24      A. Uh-huh. Yes, sir.
                                                 25      Q. What was that?
                                                                      42 (Pages 165 to 168)
                       PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 41 of 86

                                                            169                           171
        1      A. Very good.                                   1
        2      Q. Based upon your inspections of these areas
        3   as you've outlined in -- some in February and
        4   March, some just in March --
3:04
3:06    5      A. Uh-huh.
        6      Q. -- did you form any opinions as to the
        7   safety culture onboard the HORIZON?
        8            MR. FLYNN: Objection as to form.
        9            You can answer if you understand it.
3:04
3:06   10      A. It was as good as any other rig.           1
       11      Q. (BY MR. KALLAM) All right. You did not
       12   see -- you did not note any deficiencies in
       13   particular areas that warranted an INC or any
       14   notation in your inspection reports; is that
3:04
3:06   15   correct?
       16      A. That is correct.
       17


3:04
3:06




                                                            170                           172




3:07
3:05




3:07
3:05   1                                                          1




3:07
3:05




3:07
3:05



                                                       at
3:
                                                                      43 (Pages 169 to 172)
                               PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 42 of 86

                                           173                                                        175




:10
:08




:10
:08    1                                         1




:10
:08




:10
:08                                              20      Q. All right. And in this instance, based on
                                                 21   the multiple times that you observed the crew, you
                                                 22   did not see anything that gave you cause or
                                                 23   concern that they were not well trained and
                                                 24   competent to respond to a well control situation?
                                                 25      A. That's correct.
                                           174                                                        176
                                                  1      Q. You also, I think, reviewed documents in
                                                  2   IADC reports that reflected either loss of
                                                  3   circulation or well control events in the past; is
                                                  4   that a fair characterization?
3:09
3:11                                              5      A. Yes, sir.
                                                  6      Q. All right. Based upon -- and I know you
                                                  7   weren't there at the time, but based upon your
                                                  8   review of those documents, did you feel as though
                                                  9   and were you of the opinion that the crew had
3:09
3:11   1                                         10   properly responded to either that loss circulation
                                                 11   event or well control event?
                                                 12      A. Yes, sir.


3:09
3:11




3:




                                                                       44 (Pages 173 to 176)
                       PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 43 of 86

                                                               177                                                       179
        1                                                       1         the DEEPWATER HORIZON?
                                                                2            A. Yes, sir.
                                                                3            Q. Did he exhibit to you any characteristics
                                                                4         that gave you concern from the standpoint of a --
3:12
3:14                                                            5         of a conscientious competency level to respond to
                                                                6         a well control situation?
                                                                7            A. No, sir.
                                                                8            Q. If he had, you would have noted that?
                                                                9            A. Yes, sir.
                                                               10            Q. Same questions for Mr. Anderson, do you --
       11      Q.            You know Jimmy Harrell, the       11         do you know Mr. Anderson?
       12   OIM?                                               12            A. Uh-huh.
       13      A. Yes, sir.                                    13            Q. You do. That's a "yes"?
       14      Q. All right. Based on your personal            14            A. Yes, sir.
3:13
3:15   15   experience of Mr. Harrell, did you feel that he    15            Q. Same questions insofar as Mr. Anderson was
       16   was a knowledgeable and capable OIM?               16         concerned, did you feel he was trained and
       17      A. Yes, sir.                                    17         competent to respond appropriately to a well
       18      Q. Did you have any concerns that Mr. Harrell 18           control situation?
       19   was not safety conscious and out to protect his    19            A. Yes, sir.
3:13
3:15   20   crew, those aboard the rig and the environment?    20            Q. Do you know Mr. Randy Ezell?
       21      A. Yeah. Very conscientious.                    21            A. Yes, sir.
       22      Q. All right. Did you ever observe anything     22            Q. Same questions with regard to Mr. Ezell,
       23   from looking at the documents that were aboard the 23         based upon what you saw and observed, did Mr.
       24   rig or observing the crew in action, so to speak,  24         Ezell, in reading the reports that he was involved
3:13
3:15   25   that gave you any concerns, whatsoever, about      25         with, did you feel that he was properly trained
                                                               178                                                       180
        1   Mr. Harrell's competency and conscientiousness?           1   and competent to respond to a well control event?
        2      A. No.                                                 2      A. Yes, sir.
        3      Q. Did you know a driller by the name of               3      Q. Did you have any hesitation at all insofar
        4   Mr. Dewey Revette?                                        4   as what you observed of Mr. Ezell, Mr. Revette,
3:15
3:13    5      A. If he was there, yes, I -- I would have             5   Mr. Anderson, or Mr. Harrell that would lead you
        6   known him, yes.                                           6   to believe that they would not respond quickly and
        7      Q. But as we -- as we sit here today, do you           7   conscientiously in connection with the well
        8   recall a driller by the name --                           8   control event?
        9      A. Yeah.                                               9      A. No, sir.
3:16
3:13   10      Q. -- of Dewey Revette?                               10      Q. Let's talk for a moment about the -- the
       11      A. Correct.                                           11   BOP. What documents, in particular, did you
       12                                                            12   review insofar as BOP -- connection with
                                                                     13   maintenance operation or testing?
                                                                     14      A. The BOP test charts.
3:16
3:14                                                                 15      Q. All right. And the result of that --
                                                                     16   those testing that was performed, as evidenced by
                                                                     17   the charts, is indicated on Exhibit 4126 and 4121?
                                                                     18   Did you record those results in the BOP test
                                                                     19   section?
3:                                                                   20      A. Yes, sir, I did.
                                                                     21      Q. All right. And as I asked you earlier,
                                                                     22   did you have any concerns about the veracity or
       23      Q. Okay. Based upon what you recall of Mr.            23   the accuracy of the testing charts that you looked
       24   Revette, did you feel as though he was properly          24   at?
3:17
3:14   25   trained and competent to act as a driller aboard         25      A. No, sir.
                                                                                          45 (Pages 177 to 180)
                                 PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 44 of 86

                                                              181                                                    183
        1         Q. Was it your opinion based upon the
        2      February, March inspection that the BOP aboard the
        3      DEEPWATER HORIZON insofar as a maintenance
        4      standpoint was in compliance with all MMS
3:17
3:19    5      regulations?
        6         A. Yes, sir.
        7         Q. Same question insofar as the operation of
        8      the BOP, based upon what you saw in records and
        9      observed, was BOP in compliance with all MMS
3:17
3:20   10      regulations from an operational standpoint?        1
       11         A. Yes, sir.
       12         Q. Was BOP in compliance with all MMS
       13      regulations from a testing standpoint?
       14         A. Yes, sir.
3:17
3:20   15         Q. You were not aware in February or March of
       16      any testing or any other maintenance issues
       17      associated with BOP that were not being performed
       18      as otherwise mandated by the MMS?
       19         A. I don't recall that.
3:18
3:20   20         Q. All right. If you had found that certain
       21      items as mandated by the MMS were not being
       22      performed on the BOP, you would have certainly
       23      noted that in your -- in your inspection report,
       24      correct?
       25         A. Yes.
                                                              182                                                    184
           1           MR. FLYNN: Objection as to form.
           2      Q. (BY MR. KALLAM) That would have been an
           3   INC?
           4      A. Yes, sir.
 :20
3:18       5      Q. All right. And in conjunction with both
           6   the February and March reports, there are no --
           7   no INC's associated with the BOP; is that correct?
           8      A. That's correct.

 :20
3:18   1                                                            1




 :20
3:18




                                                                    21      Q. At any point in time while you were aboard
                                                                    22   the DEEPWATER HORIZON in February or March of --
                                                                    23   of 2010, did you observe any safety hazard or
                                                                    24   safety concern at all?
                                                                    25      A. I don't recall.

                                                                                         46 (Pages 181 to 184)
                                   PURSUANT TO CONFIDENTIALITY ORDER
         Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 45 of 86

                                                     1                                                              3
           UNITED STATES DISTRICT COURT                   1   APPEARANCES: (Continued)
                                                          2
           EASTERN DISTRICT OF LOUISIANA                      Mr. Charles B. Wallace
                                                          3   U.S. DEPARTMENT OF JUSTICE
      IN RE: OIL SPILL ) MDL NO. 2179                         1849 C Street, N.W.
                                                          4   Room 6453
      by the OIL RIG,    )                                    Washington, D.C. 20240
      DEEPWATER HORIZON in ) SECTION "J"                  5   Phone: 202-208-6371 Fax: 202-208-6475
      the GULF OF MEXICO, )                               6   Ms. Sarah Doverspike
      April 20, 2010   ) JUDGE BARBIER                        U.S. DEPARTMENT OF JUSTICE
                                                          7   1849 C Street, N.W.
                   )                                          Room 6453
                   ) MAG. JUDGE                           8   Washington, D.C. 20240
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                                                         24
                                                         25         APPEARING FOR TRANSOCEAN

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16                                                            Phone: 713-890-5745 Fax: 713-890-5001
     Mr. Stephen G. Flynn                                17
17   U.S. DEPARTMENT OF JUSTICE                                     APPEARING FOR M-I SWACO
     Civil Division, Torts Branch                        18
18   1425 New York Avenue, Northwest                          Mr. Bill Joyce
     Suite 10100                                         19   JONES WALKER
19   Washington, D.C. 20005                                   201 St. Charles Avenue
     Phone: 202-616-4070 Fax: 202-616-4002               20   New Orleans, Louisiana 70170
20                                                            Phone: 504-582-8448
     Ms. Jill Rosa                                       21
21   U.S. DEPARTMENT OF JUSTICE                                     APPEARING FOR WEATHERFORD
     Civil Division, Torts Branch                        22
22   1425 New York Avenue, Northwest                          Ms. Jill Lansden
     Suite 10100                                         23   MITCHELL LANSDEN & ASSOCIATES
23   Washington, D.C. 20005                                   1401 McKinney, Suite 2250
     Phone: 202-616-4070 Fax: 202-616-4002               24   Houston, Texas 77010
24                                                            Phone: 713-220-2224
25                                                       25


                                                                                                      1 (Pages 1 to 4)
                                      PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 46 of 86

                                    349                                                     351




1                                         1




                                          21      Q. At any point, sir, during the
                                          22   drilling of the Macondo well, did you ever
                                          23   become aware of any issuance of
                                          24   noncompliance with respect to any
                                          25   requirement related to Transocean?
                                    350                                                     352
                                           1       A. No.
                                           2       Q. Did you ever indicate to anybody
                                           3   that you thought that Transocean was not in
                                           4   compliance with any of the requirements
                                           5   that were imposed on -- any requirements
                                           6   imposed on it in connection with the
                                           7   drilling of the well?
                                           8       A. No.
                                           9       Q. Did anybody ever report to you
                                          10   that they believed Transocean was not in
                                          11   compliance with anything they were supposed
                                          12   to be doing in connection with the well?
                                          13       A. No.
                                          14       Q. Did BP ever complain to you
                                          15   about any aspect of Transocean's operations
                                          16   with respect to the well?
                                          17       A. No.
                                          18       Q. Did BP ever say to you that
                                          19   Transocean wasn't doing something that it
                                          20   was required to do?
                                          21       A. No.
                                          22       Q. Did -- you told us earlier that
                                          23   there were inspectors from the MMS who went
                                          24   onboard -- I think you told us monthly --
                                          25   to inspect the rig, correct?
                                                            88 (Pages 349 to 352)
                PURSUANT TO CONFIDENTIALITY ORDER
     Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 47 of 86

                                            353                                 355
 1       A. Yes, approximately monthly they
 2   would -- were required to inspect the
 3   drilling rigs.
 4       Q. Did those inspectors ever tell
 5   you that they ever observed any aspect of
 6   anything that Transocean was doing that was
 7   not in compliance with any requirement?
 8       A. To the best of my knowledge, no.
 9       Q. Did they tell you that -- that
10   Transocean was in violation of any -- of    1
11   any regulations under the -- that --
12   overseen by the MMS?
13       A. To the best of my knowledge, no.
14       Q. You're not aware of any such
15   violations?
16       A. That is correct.
17       Q. At any point, did MMS issue any
18   INCs to Transocean?
19           MR. KEEGAN:
20             Objection, form.
21       A. I'm not aware of any being
22   issued.



                                            354                                 356




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                                                  25
                                                         89 (Pages 353 to 356)
                     PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 48 of 86

                                                         273                                                      275
             UNITED STATES DISTRICT COURT                       1     725 Twelfth Street, N.W.
                                                                      Washington, D.C. 20005
             EASTERN DISTRICT OF LOUISIANA                      2
                                                                3   APPEARING FOR WEATHERFORD:
     IN RE: OIL SPILL     ) MDL NO. 2179                             Mr. Michael A. Chernekoff
                                                                4    JONES, WALKER, WAECHTER, POITEVENT,
     BY THEOIL RIG      )                                               CARRERE & DENEGRE, LLP
     "DEEPWATER HORIZON" IN ) SECTION "J"                       5    JP Morgan Chase Tower
     THE GULF OF MEXICO, ON )                                        600 Travis, Suite 6601
                                                                6    Houston, Texas 77002
     APRIL 20, 2010    ) JUDGE BARBIER                          7
                  ) MAG. JUDGE SHUSHAN                              APPEARING FOR M-I SWACO:
                                                                8    Mr. Robert S. Brennan, Jr.
                                                                     MORGAN, LEWIS & BOCKIUS, LLP
                                                                9    1000 Louisiana Street, Suite 4200
                                                                     Houston, Texas 77002-5006
                                                               10
                                                               11   APPEARING FOR HALLIBURTON:
                                                                     Ms. Gwen E. Richard
                                                               12    GODWIN RONQUILLO
                                                                     1331 Lamar, Suite 1665
                                                               13    Houston, Texas 77010-3133
                                                               14    Ms. Lauren Mitchell
                                                                     GODWIN RONQUILLO
                                                               15    1201 Elm Street, Suite 1700
                                                                     Dallas, Texas 75270-2041
                                                               16
                  *******************                          17   APPEARING FOR DRIL-QUIP, INC.:
                                                                     Ms. Margaret Bryant
                     VOLUME 2                                  18    WARE, JACKSON, LEE & CHAMBERS
                  ******************                                 America Tower, 42nd Floor
                                                               19    2929 Allen Parkway
                                                                     Houston, Texas 77019-7101
                                                               20
           Deposition of MICHAEL SAUCIER, taken at             21   APPEARING FOR THE UNITED STATES:
     the Hilton Hotel, 333 St. Charles Avenue, New                   Mr. Stephen G. Flynn
                                                               22    U.S. DEPARTMENT OF JUSTICE
     Orleans, Louisiana, 70130, on the 28th day of                   TORT BRANCH, CIVIL DIVISION
     July, 2011.                                               23    1425 New York Avenue, N.W.
                                                                     Suite 10100
                                                               24    Washington, D.C. 20005
                                                                     Post Office Box 14271
                                                               25    Washington, D.C. 20044-4271

                                                         274                                                      276
 1          APPEARANCES                                         1     Ms. Jill D. Rosa
 2                                                                    U.S. DEPARTMENT OF JUSTICE
     APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:          2     CIVIL DIVISION, TORTS BRANCH
 3     Mr. Walter J. Leger, Jr.                                       AVIATION & ADMIRALTY SECTION
       Ms. Christine E. Sevin                                   3     1425 New York Avenue, N.W.
 4     LEGER & SHAW                                                   Suite 10100
       600 Carondelet Street, 9th Floor                         4     Washington, D.C. 20005
 5     New Orleans, Louisiana 70130                                   Post Office Box 14271
 6                                                              5     Washington, D.C. 20044-4271
     APPEARING FOR BP, INC.:                                    6     Ms. Silvia M. Murphy
 7     Mr. Christopher W. Keegan                                      OFFICE OF THE SOLICITOR
       KIRKLAND & ELLIS                                         7     DIVISION OF MINERAL RESOURCES
 8     555 California Street                                          1849 C Street, NW
       San Francisco, California 94104                          8     Washington, D.C. 20240
 9                                                              9     Mr. Daniel A. Spiro
       Ms. Stephanie S. Thibault                                      U.S. Department of Justice
10     KIRKLAND & ELLIS                                        10     Civil Division, Fraud Section
       300 North LaSalle
                                                                      601 D Street N.W., Room 9128
11     Chicago, Illinois 60654                                 11     Washington, D.C. 20004
12
                                                               12     LCDR Jeffrey R. Bray
     APPEARING FOR TRANSOCEAN:
                                                                      Mr. Dave Dubay
13     Mr. Paul C. Thibodeaux
       FRILOT
                                                               13     U.S. DEPARTMENT OF HOMELAND SECURITY
14     1100 Poydras Street, Suite 3600                                OFFICE OF CLAIMS AND LITIGATION
       New Orleans, Louisiana 70163                            14     U.S. COAST GUARD
15                                                                    2100 2nd Street, S.W., Stop 7121
       Mr. Robert L. Blankenship                               15     Washington, D.C. 20593-7121
16     PREIS & ROY                                             16
       Versailles Centre, Suite 400                                 APPEARING FOR THE STATE OF LOUISIANA:
17     102 Versailles Boulevard                                17    Mr. Douglas R. Kraus
       Lafayette, Louisiana 70501                                    KANNER & WHITELEY
18                                                             18    701 Camp Street
19   APPEARING FOR ANADARKO PETROLEUM COMPANY:                       New Orleans, Louisiana 70130-3504
       Mr. Daniel A. Saunders                                  19
20     Ms. Elisa Cervantes                                     20   APPEARING FOR O'BRIEN'S/NRC:
       BINGHAM MCCUTCHEN                                             Mr. Patrick E. O'Keefe
21     The Water Garden                                        21    MONTGOMERY, BARNETT, BROWN, READ,
       Fourth Floor, North Tower                                        HAMMOND & MINTZ, LLP
22     1620 26th Street                                        22    3200 Energy Centre
       Santa Monica, California 90404-4060                           1100 Poydras Street
23                                                             23    New Orleans, Louisiana 70163-3200
24   APPEARING FOR CAMERON INTERNATIONAL CORPORATION:          24
       Mr. Eric G. Blankenstein                                     APPEARING FOR AVIATION DYNAMICS:
25     WILLIAMS & CONNOLLY                                     25    Ms. A. Simone Manuel

                                                                                                 1 (Pages 273 to 276)
                                         PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 49 of 86

                                                              313                                                      315
                                                                     1   no one from the MMS ever reported to you that they
                                                                     2   thought TransOcean was not in compliance with any
                                                                     3   regulatory requirements imposed on it in
                                                                     4   connection with the drilling of the well, right?
 :19
 :16                                                                 5      A. Correct.
                                                                     6      Q. During the drilling of the Macondo Well,
                                                                     7   the MMS did not issue any INCs to TransOcean,
                                                                     8   correct?
                                                                     9      A. As far as I know, no.
 :20
 :16   1                                                            10      Q. Prior to the Macondo blowout, all of the
                                                                    11   BOP testing that was conducted aboard the
                                                                    12   DEEPWATER HORIZON was deemed acceptable by the --
                                                                    13   by the MMS, correct?
                                                                    14           MR. FLYNN: Objection as to form.
 :20
 :17                                                                15      A. If we haven't issued any INCs, then that
                                                                    16   would be true.
                                                                    17      Q. (BY MR. THIBODEAUX) And you're not aware
                                                                    18   of any INCs related to BOP testing, correct?
                                                                    19      A. At this point in time, I'm not.
 :20
 :17                                                                20      Q. Okay. Prior to the Macondo blowout, no
                                                                    21   regulatory compliance issues were raised by MMS to
                                                                    22   TransOcean regarding any problems with the
                                                                    23   maintenance of the DEEPWATER HORIZON, right?
                                                                    24      A. As far as I'm aware, no.
                                                                    25      Q. I'm sorry. I didn't hear you.

                                                              314                                                      316
                                                                     1      A. As far as I'm aware, no.
                                                                     2      Q. Prior to the Macondo Well blowout, no
                                                                     3   regulatory compliance issues were raised by MMS to
                                                                     4   TransOcean regarding any problems regarding the
9:17
9:21                                                                 5   TransOcean rig crew, right?
                                                                     6      A. As far as I'm aware, correct.
                                                                     7      Q. Prior to the Macondo blowout, you were
                                                                     8   never informed by anyone from MMS that the
                                                                     9   TransOcean -- that TransOcean or any of its
9:18
9:21   1                                                            10   employees on the DEEPWATER HORIZON exhibited a
                                                                    11   callous disregard for safety -- for the safety of
                                                                    12   individuals or the environment, right?
                                                                    13      A. Correct.
                                                                    14      Q. You're not aware of any maximum
9:18
9:21                                                                15   anticipated surface pressure calculations or
                                                                    16   predictions that were submitted by TransOcean to
                                                                    17   the MMS regarding the Macondo Well, right?
                                                                    18      A. Correct.
                                                                    19      Q. Prior to the Macondo blowout, the MMS did
9:19
9:22   20           During the drilling of the Macondo              20   not raise any issues with TransOcean regarding the
       21   Well, you never became aware of any issuance of         21   configuration of the BOP, including the number and
       22   noncompliance with respect to any regulatory            22   capacity of the annular preventers, blind shear
       23   requirement related to TransOcean, right?               23   rams, casing shear ram, or variable bore rams,
       24      A. I'm not aware of any.                             24   right?
9:19
9:22   25      Q. During the drilling of the Macondo Well,          25      A. Correct.

                                                                                         11 (Pages 313 to 316)
                                   PURSUANT TO CONFIDENTIALITY ORDER
            Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 50 of 86

                                                         1                                                          3
             UNITED STATES DISTRICT COURT                     1   APPEARING FOR DRIL-QUIP, INC.:
                                                                    Ms. Wendy Ware Bishop
             EASTERN DISTRICT OF LOUISIANA                    2     WARE, JACKSON, LEE & CHAMBERS
                                                                    America Tower, 42nd Floor
                                                              3     2929 Allen Parkway
     IN RE: OIL SPILL    ) MDL NO. 2179                             Houston, Texas 77019-7101
     BY THEOIL RIG     )                                      4
     "DEEPWATER HORIZON" IN ) SECTION "J"                         APPEARING FOR M-I SWACO:
                                                              5     Mr. Steven A. Luxton
     THE GULF OF MEXICO, ON )                                       MORGAN, LEWIS & BOCKIUS, LLP
     APRIL 20, 2010   ) JUDGE BARBIER                         6     1111 Pennsylvania Avenue, NW
                                                                    Washington, D.C. 20004
                 ) MAG. JUDGE SHUSHAN                         7
                                                                  APPEARING FOR HALLIBURTON:
                                                              8     Mr. Jerry C. von Sternberg
                                                                    GODWIN RONQUILLO
                                                              9     1331 Lamar, Suite 1665
                                                                    Houston, Texas 77010-3133
                                                             10
                                                                   Ms. Angelle M. Adams
                                                             11    GODWIN RONQUILLO
                                                                   Renaissance Tower
                                                             12    1201 Elm Street, Suite 1700
                                                                   Dallas, Texas 75270-2041
                                                             13
                                                                  APPEARING AS OBSERVER FOR THE
                                                             14   U.S. DEPARTMENT OF THE INTERIOR:
                                                                    Mr. Charles B. Wallace
                                                             15     U.S. DEPARTMENT OF THE INTERIOR
                  *****************                                 OFFICE OF THE SOLICITOR
                     VOLUME 1                                16     1849 C Street, N.W.
                                                                    Room 6453
                  *****************                          17     Washington, D.C. 20240
                                                             18   APPEARING FOR THE UNITED STATES:
                                                                    Mr. Stephen G. Flynn
                                                             19     U.S. DEPARTMENT OF JUSTICE
          Deposition of David James Trocquet,                       TORT BRANCH, CIVIL DIVISION
     Individually and as a Corporate Representative,         20     1425 New York Avenue, N.W.
                                                                    Suite 10100
     taken at the Pan-American Building, 601 Poydras         21     Washington, D.C. 20005
     Street, 11th Floor, New Orleans, Louisiana,                    Post Office Box 14271
                                                             22     Washington, D.C. 20044-4271
     70130, on the 23rd day of September, 2011.              23     Mr. Kelley C. Hauser
                                                                    U.S. DEPARTMENT OF JUSTICE
                                                             24     601 D Street, N.W.
                                                                    Washington, D. C. 20004
                                                             25

                                                         2                                                          4
 1          APPEARANCES                                       1     Ms. Jill Dahlmann Rosa
 2                                                                  U.S. DEPARTMENT OF JUSTICE
 3   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:        2     TORT BRANCH, CIVIL DIVISION
       Mr. Frank M. Petosa                                          AVIATION & ADMIRALTY SECTION
 4     Mr. René F. Rocha                                      3     1425 New York Avenue, N.W.
       MORGAN & MORGAN
 5     6824 Griffin Road                                            Suite 10100
       Davie, Florida 33314                                   4     Washington, D.C. 20005
 6                                                                  Post Office Box 14271
     APPEARING FOR BP, INC.:                                  5     Washington, D.C. 20044-4271
 7     Mr. Christopher W. Keegan                              6     Mr. Daniel A. Spiro
       KIRKLAND & ELLIS                                             U.S. DEPARTMENT OF JUSTICE
 8     555 California Street                                  7     CIVIL DIVISION, FRAUD SECTION
       San Francisco, California 94104                              601 D Street N.W., Room 9128
 9                                                            8     Washington, D.C. 20004
       Mr. R. Allan Pixton
10     KIRKLAND & ELLIS
                                                                    Post Office Box 261
       300 North LaSalle                                      9     Ben Franklin Station
11     Chicago, Illinois 60654                                      Washington, D.C. 20044
12   APPEARING FOR TRANSOCEAN:                               10
       Mr. Paul C. Thibodeaux                                     APPEARING FOR THE UNITED STATES COAST GUARD:
13     Ms. Mary K. Klinefelter                               11    LCMR David M. DuBay
       FRILOT                                                      U.S. DEPARTMENT OF HOMELAND SECURITY
14     1100 Poydras Street, Suite 3600                       12    OFFICE OF CLAIMS AND LITIGATION
       New Orleans, Louisiana 70163                                U.S. COAST GUARD
15
                                                             13    2100 2nd Street, S.W., Stop 7121
     APPEARING FOR ANADARKO PETROLEUM COMPANY:
16     Mr. David M. Magee                                          Washington, D.C. 20593-7121
       BINGHAM MCCUTCHEN                                     14
17     One Federal Street                                         APPEARING FOR THE STATE OF LOUISIANA:
       Boston, Massachusetts 02110-1726                      15    Mr. Lambert J. "Joe" Hassinger, Jr.
18                                                                 GALLOWAY, JOHNSON, TOMPKINS, BURR
     APPEARING FOR CAMERON INTERNATIONAL CORPORATION:        16    AND SMITH
19     Mr. Brad Coffey                                             701 Poydras Street, 40th Floor
       BECK, REDDEN & SECREST                                17    New Orleans, Louisiana 70139
20     One Houston Center                                    18   ALSO PRESENT:
       1221 McKinney Street, Suite 4500
                                                                   Mr. Mark Hendrix, Videographer
21     Houston, Texas 77010-2010
22   APPEARING FOR WEATHERFORD:
                                                             19
       Mr. Michael A. Chernekoff                             20
23     JONES, WALKER, WAECHTER, POITEVENT,                   21
       CARRERE & DENEGRE, LLP                                22
24     JP Morgan Chase Tower                                 23
       600 Travis, Suite 6601                                24
25     Houston, Texas 77002                                  25

                                                                                                      1 (Pages 1 to 4)
                                         PURSUANT TO CONFIDENTIALITY ORDER
            Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 51 of 86

                                                            73                                                          75
                                                                     1   Marine Board of Inquiry in May of 2010, there was
                                                                     2   no determination by the MMS that BP, Transocean,
                                                                     3   Halliburton, Sperry-Sun, or any of the other
                                                                     4   contractors on the MC 252 No. 1 Well violated MMS
                                                                     5   Regulations, correct?
                                                                     6          MR. HASSINGER: Same objection.
                                                                     7          MR. VON STERNBERG: Objection, form.
                                                                     8          MR. PETOSA: Form.
                                                                     9     A. To my knowledge, correct.
1




                                                            74                                                          76
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14        Q. (By Mr. Keegan) As of April 19th, 2010,
15      there was no determination by the MMS that BP,
16      Transocean, Halliburton, Sperry-Sun, or any of
17      the other contractors on the MC 252 No. 1 Well
18      violated MMS Regulations, correct?
19               MR. HASSINGER: Objection, form.
20               MR. VON STERNBERG: Objection.
21               MR. PETOSA: Form.
22        A. Correct. To my knowledge, that's
23      correct.
24        Q. (By Mr. Keegan) And as of the date of
25      that the MMS Representatives testified before the

                                                                                            19 (Pages 73 to 76)
                                PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 52 of 86

                                                       77                          79




                                                            1




18     Q. (By Mr. Keegan) And as you sit here
19   today, the BOEMRE has still not issued any
20   violations of applicable Regulations related to
21   the MC 252 No. 1 Well, correct?
22           MR. HASSINGER: Objection.
23           MR. PETOSA: Form.
24     A. To my knowledge, correct.

                                                       78                          80




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                                                                20 (Pages 77 to 80)
                          PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 53 of 86

                                    197                                                        199




1                                         1




                                    198                                                        200




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                                          21      Q. At any point during the drilling of the
                                          22   Macondo Well, did you ever become aware of any
                                          23   issuance of noncompliance or warning with respect
                                          24   to any regulatory requirement related to
                                          25   Transocean?
                                                                50 (Pages 197 to 200)
                PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 54 of 86

                                                   201                                                   203
 1      A. No.                                          1   say, yes, that's correct.
 2      Q. During the drilling of the Macondo Well,     2      Q. And they were adately -- adequately
 3   did anyone ever report to you that they believed   3   trained to inspect a -- a drilling rig like the
 4   that Transocean was not in compliance with any     4   DEEPWATER HORIZON and certain components of that
 5   regulatory requirements imposed on it in           5   rig, like the BOP, correct?
 6   connection with the drilling of the Macondo Well?  6      A. I would say yes, correct.
 7      A. No.                                          7      Q. And the MMS has not identified that the
 8      Q. And during the drilling of the Macondo       8   two Neils failed to properly perform their duties
 9   Well, the MMS never issued any INCs or warnings    9   in inspecting the DEEPWATER HORIZON and BOP,
10   to Transocean, correct?                           10   right?
11      A. To -- to the best of my -- my               11      A. Correct.
12   recollection, that's correct.
13      Q. Prior to this incident, you did not
14   consider Transocean to have a callous disregard
15   for the safety of individuals or the environment,
16   correct?
17      A. Correct.
18      Q. And you're not aware of anyone within the
19   MMS that considered Transocean to have a callous
20   disregard for the safety of individuals or the
21   environment, right?
22      A. Yes, that's correct.
23      Q. All right. You testified a little bit
24   earlier today about your knowledge of three
25   inspections that occurred on the HORIZON in --
                                                   202                                                   204
 1   in 2010?
 2      A. (Nodding.)
 3      Q. Do you recall that testimony?
 4      A. Yes.
 5      Q. Okay. And those inspections were -- were
 6   conducted by MMS Inspectors, correct?
 7      A. Correct.
 8      Q. All right. And they were there to
 9   inspect aspects of the rig, as well as the BOP,
10   correct?
11      A. Correct, as well as the -- the particular
12   drilling of the well, the downhole properties of
13   the well.
14      Q. Okay. As a result of those inspections,
15   the MMS never raised any regulatory issue with
16   Transocean regarding any problems relating to the
17   BOP or the rig, correct?
18      A. To my -- to my knowledge, yes, that's
19   correct.
20      Q. Okay. The MMS Inspectors that inspected
21   the HORIZON and the BOP in 2010 were competent
22   Inspectors, correct?
23      A. If -- if -- if my recollection of -- of
24   who those Inspectors were, if that was consisting
25   of -- of Erick Neil and -- and Bob Neil, I would
                                                                            51 (Pages 201 to 204)
                         PURSUANT TO CONFIDENTIALITY ORDER
          Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 55 of 86

                                                     1                                                             3
            UNITED STATES DISTRICT COURT                  1      A P P E A R A N C E S (Continued)
                                                          2
            EASTERN DISTRICT OF LOUISIANA                 3   APPEARING FOR CAMERON INTERNATIONAL
                                                              CORPORATION:
                                                          4     Mr. Thomas Ganucheau
     IN RE: OIL SPILL     ) MDL NO. 2179                        BECK, REDDEN & SECREST
     BY THEOIL RIG      )                                 5     One Houston Center
                                                                1221 McKinney Street, Suite 4500
     "DEEPWATER HORIZON" IN ) SECTION "J"                 6     Houston, Texas 77010-2010
     THE GULF OF MEXICO, ON )                             7
     APRIL 20, 2010    ) JUDGE BARBIER                        APPEARING FOR WEATHERFORD:
                                                          8     Mr. William J. Joyce
                  ) MAG. JUDGE SHUSHAN                          JONES, WALKER, WAECHTER, POITEVENT,
                                                          9     CARRERE & DENEGRE, LLP
                                                                201 St. Charles Avenue
                                                         10     New Orleans, Louisiana 70170
                                                         11
                                                              APPEARING FOR M-I SWACO:
                                                         12     Mr. Wendell Bruce Hays
                                                                MORGAN, LEWIS & BOCKIUS, LLP
                                                         13     1000 Louisiana Street, Suite 4200
                                                                Houston, Texas 77002-5006
                                                         14
                                                         15   APPEARING FOR HALLIBURTON:
                                                                Ms. Angelle M. Adams
                                                         16     GODWIN RONQUILLO
                                                                1201 Elm Street, Suite 1700
                                                         17     Dallas, Texas 75270-2041
                                                         18     Mr. Jerry C. von Sternberg
                                                                GODWIN RONQUILLO
                                                         19     1331 Lamar, Suite 1665
                                                                Houston, Texas 77010-3133
                                                         20
                                                         21   APPEARING FOR THE UNITED STATES:
             Deposition of LIEUTENANT                           Ms. Michelle T. Delemarre
     COMMANDER MICHAEL ODOM, taken at Pan-American       22     U.S. DEPARTMENT OF JUSTICE
                                                                TORT BRANCH, CIVIL DIVISION
     Building, 601 Poydras Street, 11th Floor, New       23     1425 New York Avenue, N.W.
     Orleans, Louisiana, 70130, on the 11th day of              Suite 10100
     October, 2011.                                      24     Washington, D.C. 20005
                                                                Post Office Box 14271
                                                         25     Washington, D.C. 20044-4271

                                                     2                                                             4
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25                                                       25

                                                                                                     1 (Pages 1 to 4)
                                 PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 56 of 86

                                  9                                                           11




                                      1




                                      22          Q. Is it accurate that you were the
                                      23      last Coast Guard officer to inspect the
                                      24      Deepwater Horizon before the casualty?
                                      25          A. Myself, Cal Brown, and Jay
                                                                                              12
                                          1   Willimon were the last three Coast Guard
                                          2   officers to conduct an exam for compliance on
                                          3   the Deepwater Horizon, that is correct.
                                          4        Q. What was that date of that
                                          5   inspection?
                                          6        A. I don't -- I would have to look
                                          7   at the COC to give you the exact day, but it
                                          8   was July of 2009, if I recall correctly.
                                          9
                                      1




                                                                     3 (Pages 9 to 12)
            PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 57 of 86

                                                            17                            19




8:57
9:01




8:58
9:01   1                                                         1


       13        Q. And did the Deepwater Horizon
       14   pass the -- the test that --
8:58
9:01   15        A. They did. We conducted the exam
       16   on the date, and there were no discrepancies
       17   found on the exam and there were none cleared
       18   for previous exams. So they had no
       19   outstanding discrepancies when we boarded the
8:59
9:01   20   vessel, and they had no discrepancies when we
       21   left the vessel that day.
       22


8:59
9:01   25                                                        25
                                                            18                            20




8:59
9:02




9:00
9:02   1                                                         1




9:00
9:02




9:00
9:02




                                                                       5 (Pages 17 to 20)
                               PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 58 of 86

                                                       145                                                          147
                                                                 1   we're going to do a drill while we're there.
        2                                                        2


1:44
1:46




1:44
1:46   10                                                    1




1:44
1:47




1:45
1:47




                                                             25
                                                       146                                                          148




        4       Q. Okay. As part of that
1:45
1:47    5   examination of the lifesaving gear, do you
        6   actually perform any drills or mock
        7   simulations with the crew?
        8       A. We do.
        9       Q. Okay. Do you recall what drills
1:46
1:47   10   or mock simulations were performed with the      1
       11   crew on July 27th of 2009?
       12       A. I do.
       13       Q. Can you tell us what those were?
       14       A. We conducted a fire drill. If I
1:46
1:48   15   recall correctly, it was a drill on deck
       16   simulating a crane fire. And we had the
       17   crew -- we dis- -- we discussed it with the
       18   OIM, the master of the vessel, and -- and --
       19   do you want me to go through the entire
1:46
1:48   20   sequence of what --
       21       Q. Well, and that is a -- that is
       22   an -- an unannounced drill that you performed
       23   on board the rig as part of your exam?
       24       A. That is correct. I mean, it's
1:     25   not unannounced as in they don't know that
                                                                                      37 (Pages 145 to 148)
                               PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 59 of 86

                                                            149                           151
        1       Q. And -- and how did the crew of
        2   the Deepwater Horizon respond to that, I'll
        3   use the word extraordinary, I guess, test
        4   that you put them through on July 27th of
1:48
1:50    5   2009?
        6       A. Satisfactorily.
        7       Q. All right. Did you see -- did
        8   you note any problems at all that would cause
        9   you any concern from the standpoint of the
1:48
1:51   10   competency of the crew to respond to that             1
       11   drill that you put them through on July 27th?
       12       A. None.
       13

1:49
1:51




1:49
1:51




                                                                  25
                                                            150                           152




        4        Q. Is it your opinion based upon
1:49
1:51    5   your review of the Horizon's drill records
        6   for fire drills and evacuation drills that
        7   there was a good standard being utilized by
        8   the crew aboard the Horizon for these drills?
        9        MS. DEMPSEY: Object to form.
1:49
1:52   10        A. Based on the standards that we                1
       11   observed, through their recordkeeping --
       12        Q. (BY MR. KALLUM) Right.
       13        A. -- and through their performance
       14   during the fire drill, it was our judgment
1:50
1:52   15   that they were performing at a -- at a -- at
       16   a -- a good level of -- of drills. They
       17   were -- they were expert in their ability to
       18   use the equipment and respond to the drill
       19   that we initiated.
1:50
1:52   20




                                                                       38 (Pages 149 to 152)
                               PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 60 of 86

                                                          153                                                    155




1:      5       Q. And did you have -- did you note
        6   any deficiencies or issues from a safety
        7   standpoint associated with the preventative
        8   maintenance system on board the Horizon on           8       Q. All right. Now, the next
        9   July 27th of 2009?                                   9   sentence says started emergency generator and
1:53
1:54   10       A. We did not.                                  10   observed satisfactory gauge readings on the
       11       Q. You also tested the shutdowns                11   panel."
       12   and the RP relays; is that right?                   12           Here you actually started the
       13       A. It's not saying that we tested               13   emergency generator, correct?
       14   them. It's saying that we reviewed the              14       A. That is correct.
1:53
1:55   15   records related to PMS and testing of               15       Q. All right. And you found it to
       16   shut-downs and RP relays.                           16   be in satisfactory condition?
       17       Q. All right. Okay.                             17       A. We did.
       18       A. That's not saying that we did                18
       19   them. It's saying we reviewed the records.
1:53
1:55   20       Q. Okay. In reviewing the records
       21   of the testing of those shut-downs and RP
       22   relays, did you note any deficiencies or
       23   issues from a safety standpoint?
       24       A. We did not.
1:
                                                                                                                 156




                                                                1




                                                                24      Q. All right. Then you went on and
                                                                25   you looked at the crane servicing reports
                                                                                    39 (Pages 153 to 156)
                              PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 61 of 86

                                                            157                                                           159
        1   were reviewed and the cranes themselves were           1          A. That is correct.
        2   inspected for damage and compliance with               2          Q. All right. And you were given
        3   applicable regulations; is that right?                 3      paperwork or a layout of the electrical
        4       A. That is correct, read correctly.                4      equipment in certain hazardous areas, you saw
1:56
1:58    5       Q. And you noted no deficiencies or                5      that aboard the rig; did you not?
        6   issues concerning safety in connection with            6          A. Not of the electrical equipment.
        7   the cranes?                                            7      We looked at a diagram that shows where that
        8       A. We did not.                                     8      equipment would have been required.
        9       Q. All right. Then it says fire                    9          Q. I got you.
1:56
1:58   10   and abandon drills were completed                     10          A. A hazardous area identification
       11   satisfactorily. Is that -- are those the              11      plan.
       12   drills that we described earlier with the             12          Q. Okay. Then you went to that
       13   fire hose and the crane and hiding of the             13      area and looked at the electrical equipment
       14   roustabout?                                           14      in that area?
1:56
1:58   15       A. That is correct.                               15          A. That is correct.
       16       Q. All right. Then it says,                       16          Q. And you looked at the markings
       17   "Checked fire boundary doors and ensured              17      on the equipment, correct?
       18   proper operation."                                    18          A. That is correct.
       19            Is that correct?                             19          Q. Didn't see anything abnormal or
1:56
1:58   20       A. That is correct.                               20      any deficiencies concerning that; is that
       21       Q. And then inspected hazardous                   21      right?
       22   locations for ventilation and electrical              22          A. Did not.
       23   installations. Can you tell the Court what            23          Q. All right.
       24   you did there?                                        24          A. That is right.
1:57
1:58   25       A. That is a -- one of the things                 25          Q. Then it says, your inspection is
                                                            158                                                           160
        1   we're required to provide is a hazardous area             1   complete. No deficiencies clear -- no
        2   location plan. We review that plan, and it                2   deficiencies issued, cleared, or remained
        3   outlines where the designated hazardous areas             3   outstanding; is that correct?
        4   are on board the rig.                                     4       A. That is correct.
1:58
1:57    5       Q. Right.                                             5
        6       A. Within those areas, as we do our
        7   walk-about we look for intrinsically safe
        8   electrical fittings, like on the drill floor
        9   or driller's console panel. We're just
1:58
1:57   10   looking to make sure that the lighting is             1
       11   sealed and that any intrinsically safe
       12   equipment that is within those hazardous
       13   areas is intact and appears to be in good
       14   working order.
       15       Q. Okay. And, in fact, based on
       16   your inspection on July 27th of 2009 you felt
       17   that -- or you were of the opinion that they          17      I'd like you to turn to Exhibit 5572, Page 2
       18   were intact and in good order; is that                18      of that exhibit, which I think you've looked
       19   correct?                                              19      at earlier. At the top it says, they
2:08
1:57   20       A. That is correct.                               20      commended -- excuse me, "They commented" --
       21       Q. All right. Had you observed any                21      "commented on the vessel's outstanding safety
       22   deficiencies or issues concerning safety              22      culture, performance during drills, and the
       23   concerning those electrical installation and          23      condition of the rig. No deficiencies
       24   hazardous areas, you would have so noted it;          24      issued, none are outstanding."
2:08
1:58   25   isn't that right?                                     25               Does that accurately reflect
                                                                                           40 (Pages 157 to 160)
                               PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 62 of 86

                                                            161                                                       163
        1   your team's assessment of the Deepwater                1          Q. All right. Operation of
        2   Horizon after the July 27, 2009 inspection             2      equipment, for example; is that right?
        3   and examination of the rig?                            3          A. That is correct.
        4       A. I think it's a fair assessment,                 4          Q. You also examined paperwork; is
 :08
2:10    5   yes.                                                   5      that right? Or your team examined paperwork?
        6       Q. All right. Did you find the                     6          A. The team did.
        7   crew of the Horizon competent?                         7          Q. You personally walked the decks
        8       A. We did.                                         8      and inspected various areas of the rig, as
        9       Q. Did you find them well trained?                 9      you outlined earlier?
 :09
2:10   10       A. We did.                                        10          A. That is correct.
       11       Q. Did you find them indifferent or               11          Q. What I want to know is based
       12   callous toward safety?                                12      upon the totality of those events, you
       13       MR. LEMMON: Object to form.                       13      concluded that the safety culture on board
       14       A. We did not.                                    14      the Horizon was outstanding; isn't that true?
 :09
2:10   15       Q. (BY MR. KALLUM) Did they appear                15          MS. DELEMARRE: Object to form.
       16   to have a disregard for safety?                       16          MS. DEMPSEY: Object to form.
       17       A. They did not.                                  17          MR. LEMMON: Object to form.
       18       MR. LEMMON: Object to form.                       18          A. My opinion of the crew of the
       19       Q. (BY MR. KALLUM) Did they appear                19      rig was that they were well trained and they
 :09
2:10   20   to have a disregard for the environment?              20      performed their drills to the -- fire and
       21       A. They did not.                                  21      abandon ship drills and their knowledge of
                                                                  22      the equipment on board was exceptional, yes.
                                                                  23          Q. (BY MR. KALLUM) All right.
                                                                  24          A. They were well trained.
2                                                                 25          Q. All right. And when I asked you
                                                            162                                                       164
                                                                      1   earlier whether you agreed with the sentence,
                                                                      2   "They commented on the vessel's outstanding
                                                                      3   safety culture," I thought you told me you
                                                                      4   agreed with that statement. Didn't you?
:09
:11                                                                   5       MR. LEMMON: Objection; form.
                                                                      6       A. I do agree with that statement.
                                                                      7


                                                                  1


       13   it. As part of your inspection, I think you
       14   testified earlier -- or exam, as you call it,
:10
:11    15   I think you testified earlier that you
       16   visited with the crew members correct?
       17       A. That is correct.
       18       Q. You talked to the crew members;
       19   is that right?
:      20       A. We did.
       21       Q. And this wasn't just what's for
       22   lunch; you questioned them about certain
       23   policies and practices aboard the rig; is
       24   that right?
:      25       A. That is correct.
                                                                                         41 (Pages 161 to 164)
                                 PURSUANT TO CONFIDENTIALITY ORDER
              Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 63 of 86

                                                          165                                                167
                                                                    1      MS. DELEMARRE: Object to form.
                                                                    2      A. I did.
                                                                    3      Q. (BY MR. KALLUM) Did you find
                                                                    4   that she was fit and seaworthy?
                                                                    5      MS. DEMPSEY: Object to form.
                                                                    6      MR. LEMMON: Object to form.
                                                                    7      MS. DELEMARRE: Same objection.
                                                                    8      A. I did.

                                                                1




                                                                25
                                                          166                                                168




:13
:16




:13
:16   1                                                         1




:14
:16



      19           Commander Odom, let me go back
:15
:16   20   to your July 29 -- excuse me, 27, 2009
      21   inspection. It's not noted in the activity
      22   summary report, but did you find that the
      23   Deepwater Horizon as a result of your work
      24   and exam and inspection in July of 2009 was,
:     25   indeed, fit for route and service?
                                                                                    42 (Pages 165 to 168)
                              PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 64 of 86

                                                    1                                                            3
           UNITED STATES DISTRICT COURT                  1   Mr. Paul Kreiger
           EASTERN DISTRICT OF LOUISIANA                     MORGAN LEWIS
                                                         2   1000 Louisiana Street, Suite 400
     IN RE: OIL SPILL       ) MDL NO. 2179                   Houston, Texas 77002
     by the OIL RIG,      )                              3           APPEARING FOR M-I SWACO
     DEEPWATER HORIZON in ) SECTION "J"                  4   Ms. Jennifer Hayes
     the GULF OF MEXICO, )                                   Mr. Peter Sullivan
                                                         5   Mr. Tim Bush
     April 20, 2010     ) JUDGE BARBIER
                                                             Mr. Jedd Malish
                    )                                    6   HUGHES HUBBARD
                    ) MAG. JUDGE                             One Battery Park Plaza
                    ) SHUSHAN                            7   New York, New York 10004
                                                                     APPEARING FOR ABS
                **************                           8
                                                             ALSO PRESENT:
                                                         9   Mr. James Deel, Videographer
                                                        10   REPORTED BY:
              Deposition of William Haynie,                         MELISSA L. MAGEE, CSR, RPR, RMR
     taken at Pan-American Building, 601 Poydras        11          Certified Shorthand Reporter
     Street, 11th Floor, New Orleans, Louisiana,                    Registered Professional Reporter
     70130, on June 27, 2011.                           12          Registered Merit Reporter
                                                        13
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                                                        20
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                                                        22
                                                        23
                                                        24
                                                        25
                                                    2                                                            4
 1   APPEARANCES:                                        1                INDEX
     Mr. John de Gravelles
 2   Ms. Sherry Lassere                                                                    PAGE
     DEGRAVELLES, PALMINTIER, HOLTHANS & FRUGE           2   Appearances.............................. 2
 3   618 Main Street
     Baton Rouge, Louisiana 70801                        3   Examination of William Haynie:
 4          APPEARING FOR THE                                  Examination by Mr. de Gravelles.... 6
            PLAINTIFFS' STEERING COMMITTEE
 5                                                       4     Examination by Ms. Dempsey......... 181
     Ms. Emily Dempsey                                         Examination of Mr. Kallam.......... 239
 6   KIRKLAND & ELLIS
     300 North LaSalle Street
                                                         5     Examination of Mr. Roberts......... 297
 7   Chicago, Illinois 60654                                   Examination of Ms. Allan........... 303
            APPEARING FOR BP, INC.
 8
                                                         6     Examination of Mr. De Gravelles.... 328
     Ms. Merilee Allan                                         Examination of Mr. Sullivan........ 328
 9   BINGHAM MCCUTCHEN                                   7
     Three Embarcadero Center
10   San Francisco, California 94111                         Witness' Certificate.................... 331
            APPEARING FOR ANADARKO                       8   Reporter's Certificate.................. 333
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25                                                      25

                                                                                                   1 (Pages 1 to 4)
                                     PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 65 of 86

                                     49                                                           51




                                           8          Q. With respect to your own
                                           9      personal involvement, you said you looked at
1                                         10      your own -- and I forgot the phrase you used,
                                          11      but you looked at your own documents that you
                                          12      generated with respect to the Deepwater
                                          13      Horizon. Can you tell me the dates -- and if
                                          14      not the specific dates, as close as you can
                                          15      get -- that you actually performed surveying
                                          16      services on the Deepwater Horizon?
                                          17          A. Well, I'd have to look to
                                          18      give -- I'd have to look at the check sheets
                                          19      to give you accurate dates. I know I was on
                                          20      there in the early part -- well, I know I was
                                          21      on there in 2003 for annuals. And then I
                                          22      went back in 2005, and I believe that was
                                          23      February/March, for annuals and a flag
                                          24      change.
                                          25          Q. Any others that you can recall
                                     50                                                           52
                                              1   that you actually were -- did the surveying
                                              2   work directly as opposed to just being
                                              3   somebody's principal or supervising surveyor?
                                              4       A. I went out in 2009 to do a UWILD
                                              5   or drydock extension survey.




1                                         1




                                                                     13 (Pages 49 to 52)
                PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 66 of 86

                                    181                                                   183




1                                         1




                                    182                                                   184




1

                                          12       Q.           I think we established
                                          13   before that you've been -- you visited the
                                          14   Deepwater Horizon on three occasions, to your
                                          15   recollection?
                                          16       A. Yes.
                                          17       Q. And that would be 2003, 2005,
                                          18   and 2009?
                                          19       A. Correct.
                                          20       Q. And you -- in preparation for
                                          21   this deposition, you reviewed some of your
                                          22   reports or checklists from those visits,
                                          23   correct?
                                          24       A. We went over them, yes, ma'am.
                                          25       Q. And you never found any major or
                                                              46 (Pages 181 to 184)
                PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 67 of 86

                                                 185                                                     187
 1   serious deficiencies aboard the rig during         1          A. If it was an outstanding that
 2   your visits, correct?                              2      was still in place, if some deficiency they
 3       MR. DEGRAVELLES: Object to the form.           3      had found that caused them to do that, and it
 4       THE WITNESS: If I did, it would have           4      was an outstanding in place, I would have
 5   been in my report. And to the best of my           5      seen that, because it still would have been
 6   knowledge, from reading my report, I didn't        6      open. If it was something that had been
 7   find any.                                          7      satisfied, finished, completed, I would have
 8   BY MS. DEMPSEY:                                    8      had to go back and open up the previous
 9       Q. Did you say you didn't find any?            9      surveyor's report to see it, yes.
10       A. I did not find any major                   10          Q. But to your knowledge, none of
11   deficiencies, yes.                                11      your colleagues at ABS ever recommended to
12       Q. You noted that if you had found            12      Transocean or BP or anyone else that the rig
13   a major or serious deficiency, you would have     13      suspend operations?
14   recorded it in your reports, correct?             14          A. To the best of my knowledge.
15       A. Yes, ma'am.                                15          Q. Okay. And you never recommended
16       Q. So if we look in your reports              16      that the flag state, whether it be Panama or
17   and we don't see any notations about serious      17      the Republic of Marshall Islands, pull the
18   or major defects or deficiencies, could we        18      statutory certificates for the Deepwater
19   assume that you didn't find any at the time?      19      Horizon, correct?
20       A. Yes, if I had credited the                 20          A. I never recommended that.
21   annual surveys and it's nothing noted, I          21          Q. To your knowledge, no one at ABS
22   didn't find anything.                             22      recommended to Panama or the Republic of the
23       Q. Based on your visits to the rig,           23      Marshall Islands that the Deepwater Horizon's
24   you never recommended that the rig suspend        24      statutory certificates were pulled prior to
25   operations, correct?                              25      April 2010, correct?
                                                 186                                                     188
 1       A. Correct.                                       1      A.   Correct.
 2       Q. Okay. And to your knowledge,                   2
 3   none of your colleagues from ABS that
 4   attended the rig ever recommended suspension
 5   of operations, correct?
 6       A. Not that I know of.
 7       Q. Would you -- in March -- I'm
 8   sorry. Strike that.
 9            In March 2009 when you visited
10   the rig, you said that in preparation for         1
11   that visit, you would have looked back at the
12   record of previous surveys and visits to the
13   rig, correct?
14       A. We pull a survey status that
15   shows us previous visits, outstanding
16   recommendations, if there's in place, to give
17   you an idea, you know, before we go -- we
18   have to pull it before we visit a rig.
19       Q. And would that survey report --
20   strike that.
21            To the extent that any of your
22   colleagues on previous visits had ever
23   recommended something as serious as a
24   shutdown of the rig, that would appear on the
25   survey report, correct?
                                                                              47 (Pages 185 to 188)
                        PURSUANT TO CONFIDENTIALITY ORDER
       Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 68 of 86

                                                253                                                    255
                                                       1   surveys at three different points in time.
                                                       2   And I'll go over them a little bit in a
                                                       3   moment, but I think generally speaking, you
                                                       4   testified that they were satisfactory or
                                                       5   favorable evaluations. Is that correct?
                                                       6       A. Correct.
                                                       7       Q. Did you -- after spending those
                                                       8   20-plus days aboard the Horizon and
                                                       9   performing these surveys, did you form any
                                                      10   opinions of the Horizon, specifically insofar
                                                      11   as her safety culture was concerned?
12       Q.              . Now, you mentioned         12       MR. DEGRAVELLES: Object to the form.
13   earlier, I believe, in response to questions     13       THE WITNESS: I did not see anything
14   by counsel for BP, I believe, or perhaps it      14   that would cause me concern.
15   was PSC, that you were put through a safety      15
16   orientation when you arrived onboard the
17   Horizon. Is that right?
18       A. Yes, sir.
19       Q. As we sit here today, do you
20   remember that orientation, generally, either
21   in '05, '09, or perhaps even '02?
22       A. No, sir, I don't remember that.
23       Q. All right. You do remember,
24   though, as part of that orientation, that you
25   were aware that you had stop-work authority,
                                                254                                                    256
 1   correct?
 2       A. They make that known. Yes.
 3       Q. All right. And there was no
 4   doubt in your mind, especially as a marine
 5   surveyor onboard the Horizon performing an
 6   official role, that if you saw a condition
 7   that posed a safety hazard such that you felt
 8   you needed to stop operations momentarily to
 9   have it corrected, you could have certainly
10   done so; is that right?                       1
11       A. Yes, sir.
12       Q. And at no point in time during
13   the -- I count approximately 20 to 21
14   business days -- or working days that you
15   were onboard the rig, aboard the Horizon, you
16   never exercised stop-work authority; is that
17   right?
18       A. I never did.
19       Q. All right. And you never
20   observed a condition as part of all your
21   inspection, of all the various component
22   parts of the rig, that would warrant stopping
23   work due to a safety concern; is that right?
24       A. That is right.
25       Q. Now, we've talked about your
                                                                          64 (Pages 253 to 256)
                       PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 69 of 86

                                    273                                                     275
                                              1




1                                         1




                                    274                                                     276



                                           3          Q.               Now, based upon your
                                           4      personal knowledge of what you saw aboard the
                                           5      rig and on those three occasions when you
                                           6      went onboard to perform various surveys, did
                                           7      you always feel that the condition-based
                                           8      maintenance or monitoring program of
                                           9      Transocean was being carried out in a
1                                         10      satisfactory manner?
                                          11          A. The preventative maintenance
                                          12      system in place for the engines and equipment
                                          13      was being carried out satisfactory;
                                          14      otherwise, we wouldn't have credited the
                                          15      survey.
                                          16          Q. Satisfactory?
                                          17          A. Satisfactory, yes.
                                          18          Q. Or you would not have what?
                                          19          A. Credited the survey.
                                          20          Q. All right. And "credited the
                                          21      survey" meaning complete the survey in a
                                          22      favorable manner and post it as being
                                          23      completed until the next year's is required?
                                          24          A. It would have had deficiency
                                          25      depending upon the severity posted against
                                                                69 (Pages 273 to 276)
                PURSUANT TO CONFIDENTIALITY ORDER
        Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 70 of 86

                                                     277                           279
 1   it, and maybe a return visit once it was
 2   corrected.
 3        Q. And as we sit here today, do you
 4   remember any deficiencies that you noted in
 5   that regard?
 6        A. No, sir.
 7        Q. Based upon your three trips to
 8   the Horizon some 21 days onboard, did you
 9   ever observe a deficiency that was
10   attributable to a safety management system            1
11   failure?
12        MR. DEGRAVELLES: Object to the form.
13        THE WITNESS: Let me think.
14   BY MR. KALLAM:
15        Q. Okay.
16        A. No, sir.
17        Q. And I believe you told me just a
18   little while ago, but on those same three
19   occasions where you spent in excess of
20   20 days, you never observed a deficiency that
21   was due to a failure of the RMS system -- or
22   the EMPAC system, which was the rig's
23   maintenance system; is that correct?
24        A. Correct.
25        Q. Now, you indicated that it is
                                                     278                           280
 1   ultimately the owner of the rig -- in this
 2   case, Transocean -- that has an obligation to
 3   keep the Horizon in compliance with ABS rules
 4   and regulations; is that correct?
 5       A. It is his duty to do that and to
 6   report to us when it isn't.
 7       Q. All right. At no point in time
 8   did you uncover any deficiency or evidence
 9   that Transocean was not keeping the Horizon
10   in compliance with ABS rules and regulations;         1
11   is that correct?
12       A. That is correct.
13
14
15
16

18
19
20
21

23




                                                               70 (Pages 277 to 280)
                            PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 71 of 86


                                                        329                                                                          331
 1        Q. Sure. I want to know if the                             1         CORRECTION PAGE
 2    vessel was in class according all of its                       2   WITNESS NAME: WILLIAM HAYNIE DATE: 6127/11
 3    su rvcys as of tile time of the explosion on                   3   PAGE LINE CHANGE        REASON
 4    April 20th, 20lO?                                              4
                                                                     5
 5        A. Yes, it was.                                                -------,---,--,--' ..'----"--­
 6        MR. DEGRAVELLES: Object to the form.                       6
                                                                         ---,-_."----,,--._"---------­
 7
 8
      BY MR. SULLIVAN:
          Q. You mentioned something about a
                                                                     7
                                                                     B
                                                                         -----------------.
 9    window for surveys ill which they have to be                   9     . -- -----_ ...._----,
 o    completed.                                                10           ----------.. ....,-,--,                         ---~,


 1        A. Yes.
 2        Q. Were the windows for the surveys
                                                              111
                                                               12
 3    that WCI'C commenced as of April 20th. was                13
 4    tbere still time within those windows in                      14
 :)   order to complete the sUI'Veys?                          15        ...".._.._ .... ____ ' .•• __._._..'
 6        MR. DEGRAVELLES: Objection to form.                 116
 7        THE WITNESS: Yes. We had until 28                         1"

 ~ ~~yrVtR.
 o
              SULLIVAN:
          Q. SO when the discussion about the
                                                              I~: ===~=~-_-_-_-_-_'.-_--_-_'-_'_-_.._-=__."__.__...___.__
                                                              !20
,I    window being closed was raised, was it yo II I'         121
 2    testimony because it would be no more                   122
.3    opportunity to conduct these surveys that the            23
 <1   window was dosed'!                                      j24        _.__... ,.........._ .... _' _______
,~..____ ... ,..~~:J?!9~}\.Y~l:!-:.I!!~. Objc5!.~~.!!:~.!.~~_.2:_.._--=:-, _ _
                                                330           II.
                                                                                                                                     332
 I        THE WITNESS: As we were talking, t h e .                   SIGNATlJREPACm
 2    rig was on the bottom. There's no way we                I
                                                           I. \\I1I,LiAM HAYNIE. h.v~ rend th.
 3
 <1
      could complete our surveys.
      BY MR. SUI.LIVAN',
                    •
                                                    I
                                                              I
                                                        for<l1.o illg (lepoSltlOn and hereby am, my
                                                        ,ig"alUrel~(r""""d<orrccl.
                                                        excel'! as noted an e <orrectlon ",IUC,
 5        Q, The vessel was in class up to            ~./:                             ~L         .. ,.
                                                              I
                                                                                              /j   ..



 6    the time of the explosion?                      j                 ~
 7        A. Yes.
 8        Mit DEGRAVELLES: Object to the form.      j
 9        MR. SULLIVAN: I have nothing fUl1her.     i   TIiESTAll:OF~'
                                                        COUNTVOF                }
                                                                                               0A-
                                                                                      ~ 'a'M-e/:ilr'..LF'"
                                                                                                            d. j
 o                                                  I;~
                                                                                   n~
          VIDEO SPECIALIST: Time is 4:59 p.m.
 1
 ;
      We are off the record.
            (Concluded at 4:59 p.m.)                           I::
                                                            Berore
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 5                                                             IH        Identity ~lIfd or 01"'" docu""'"(IIIU be Ih"
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 6                                                                       that h.is/le execule;! Ihe same tbr Ih.
                                                                         I,urpos\\'s and ~n$idcf1lli(ln therein expressed,
                                                                            Ui~ uflder my             n sc of office
                                                                         Ih" ~~_ d               . • . . '-#(




                                                                                                        83 (Pages 329 to 332)
                            PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 72 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                  Reported by:

DAVID McKAY                                                                                   May 11, 2011 JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                      Page 1
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:               J
                  IN THE GULF OF
                  MEXICO ON APRIL 20,                                  JUDGE BARBIER
                  2010                                                 MAG. JUDGE SHUSHAN




                      Deposition of DAVID McKAY, taken in
               the Pan American Life Center, Bayou Room,
               11th Floor, 601 Poydras Street, New
               Orleans, Louisiana 70130, on Wednesday, May
               11, 2011.




               APPEARANCES:



                                 MATTHEWS, LAWSON & JOHNSON, P.L.L.C.
                                 (By: Guy E. Matthews, Esquire)
                                 2000 Bering Drive
                                 Suite 700
                                 Houston, Texas 77057-3776
                                     (Attorneys for PLC)




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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 73 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                   Reported by:

DAVID McKAY                                                                                   May 11, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 98                                                   Page 100




                                                                                                        23         Did you believe that the culture
                                                                                                        24 of rig safety on the Horizon rig was such
 25                                                                                                     25 that the purpose for that rig was to
                                                                                              Page 99                                                   Page 101
   1                                                                                                     1   complete it, get the well drilled, and get
                                                                                                         2   off, to hell with everything else,
                                                                                                         3   including rig safety?
                                                                                                         4      MR. KALLAM:
                                                                                                         5           Object to the form.
                                                                                                         6      THE WITNESS:
                                                                                                         7           Again, as I said many times
                                                                                                         8   before, I don't have any specific
                                                                                                         9   recollection of this particular rig
                                                                                                        10   compared to other rigs I've done audits on.
                                                                                                        11   But my experience of dealing with this
                                                                                                        12   particular company is that they're pretty
                                                                                                        13   serious about safety management.
                                                                                                        14           I would not -- I would've been
                                                                                                        15   very surprised to have found an attitude
                                                                                                        16   like that.
                                                                                                        17   EXAMINATION BY MR. MATTHEWS:
                                                                                                        18      Q. Yeah. Is there -- what did you
                                                                                                        19   say about the company? In their what?
                                                                                                        20      A. I -- in my -- my experience with
                                                                                                        21   dealing with this company, they're pretty
                                                                                                        22   serious about safety management.




                                                                                                                                 26 (Pages 98 to 101)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 74 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                  Reported by:

DAVID McKAY                                                                                    May 11, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 118                                                 Page 120




 25
                                                                                              Page 119                                                 Page 121
   1                                                                                                     1




                                                                                                         17      A. This is the audit report for the
                                                                                                         18   ship security audit, ISPS audit that took
                                                                                                         19   place onboard the Deepwater Horizon from
                                                                                                         20   2007, May 8th, 15th to 16th, it says.
                                                                                                         21   That's not a very good copy. That looks
                                                                                                         22   like 15th and 16th.
                                                                                                         23      Q. And, again, with the -- you're
                                                                                                         24   the DNV surveyor team; right?
                                                                                                         25      A. That's me, yes.
                                                                                                                               31 (Pages 118 to 121)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 75 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                   Reported by:

DAVID McKAY                                                                                    May 11, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 122                                                 Page 124
                                                                                                          1                           . I think, looking at
                                                                                                          2   my audit report, I was generally pretty
                                                                                                          3   satisfied with the implementation of the
                                                                                                          4   safety management system. There were some
                                                                                                          5   minor observations that were made. No
                                                                                                          6   non-conformities were found.
                                                                                                          7           It seems like the safety
                                                                                                          8   management system was well implemented, and
                                                                                                          9   the rig was in pretty good condition, and
                                                                                                         10   the personnel were competent.
                                                                                                         11




                                                                                              Page 123                                                         125
   1                                                                                                     1




                                                                                                                              32 (Pages 122 to 125)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 76 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                  Reported by:

DAVID McKAY                                                                                    May 11, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 298                                                 Page 300




                                                                                                         19      Q. Now, as part of each annual
                                                                                                         20   survey, your ultimate goal is to either
                                                                                                         21   certify the safety management system as
                                                                                                         22   being in compliance with the ISM Code or
                                                                                                         23   not; is that correct?
                                                                                                         24      A. That's fair to say.
                                                                                                         25      Q. All right. Is it fair to say
                                                                                              Page 299                                                 Page 301
   1                                                                                                      1   that from your direct involvement in April
                                                                                                          2   of 2005 until April of 2009, the Transocean
                                                                                                          3   corporate safety management system has
                                                                                                          4   always been in compliance with the ISM
                                                                                                          5   Code?
                                                                                                          6       MR. HAYCRAFT:
                                                                                                          7           Objection to form.
                                                                                                          8       MR. MATTHEWS:
                                                                                                          9           Object to the form.
                                                                                                         10       THE WITNESS:
                                                                                                         11           In my opinion, it has. I've
                                                                                                         12   endorsed the Document of Compliance each
                                                                                                         13   year for satisfactory completion of the
                                                                                                         14   audit, and the Document of Compliance does,
                                                                                                         15   in fact, state that -- it's a certificate
                                                                                                         16   to state that the system has been found in
                                                                                                         17   compliance with the requirements of the ISM
                                                                                                         18   Code. So by endorsing it each year, it's a
                                                                                                         19   renewed statement, if you like, from me, as
                                                                                                         20   the auditor, saying, I think that you
                                                                                                         21   continue to comply.




                                                                                                                               76 (Pages 298 to 301)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 77 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                  Reported by:

DAVID McKAY                                                                                    May 11, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 310                                                 Page 312




                                                                                                         23    Q. Let's first talk about in the
                                                                                                         24 office.
                                                                                                         25    A. Okay. I think my impression of
                                                                                              Page 311                                                 Page 313
                                                                                                          1   the people that you have in your corporate
  2           Q. Well, you've had over five years                                                         2   office or Transocean has in their corporate
  3        of experience auditing the safety                                                              3   office, I beg your pardon, is that they're
  4        management system of Transocean corporate                                                      4   professional, they're dedicated to their
  5        office, from April of '05 to April of '09;                                                     5   jobs, and they're -- they're pretty
  6        correct?                                                                                       6   focussed on safety management. I think
  7           A. That's correct.                                                                          7   they -- they see how they can make a
  8           Q. And you also had the opportunity                                                         8   difference with their particular job
  9        in 2005 and 2007 to audit the Deepwater                                                        9   functions, even though it's not onboard.
 10        Horizon; is that correct?                                                                     10   Even though it's in the office, but it
 11           A. That's correct.                                                                         11   affects -- it affects safety and pollution
                                                                                                         12   prevention.
                                                                                                         13           So I think the safety culture in
                                                                                                         14   the Transocean office is good.
                                                                                                         15       Q. Would you agree that
                                                                                                         16   Transocean's safety management system was
                                                                                                         17   a -- was a well-prepared, robust, and
                                                                                                         18   well-implemented system?
                                                                                                         19       MR. HAYCRAFT:
                                                                                                         20           Object to form.
                                                                                                         21       MR. MATTHEWS:
                                                                                                         22           Objection to form.
                                                                                                         23       THE WITNESS:
                                                                                                         24           I would agree with you there.


                                                                                                                               79 (Pages 310 to 313)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 78 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                  Reported by:

DAVID McKAY                                                                                    May 11, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 314                                                 Page 316




                                                                                                         13                      Now, based upon your
                                                                                                         14   observations as both a naval architect and
                                                                                                         15   a marine surveyor and your interviews of
                                                                                                         16   the crew, and you've looked at the rig --
                                                                                                         17   all right. Based upon that, as well as
                                                                                                         18   your review of the rig maintenance system,
                                                                                                         19   the RMS system concerning maintenance, did
                                                                                                         20   you reach conclusion -- a conclusion about
                                                                                                         21   the quality of Transocean's maintenance
                                                                                                         22   program aboard the Deepwater Horizon?
                                                                                                         23       MR. MATTHEWS:
                                                                                                         24           Objection to form.
                                                                                                         25       THE WITNESS:
                                                                                                                                                       Page 317
                                                                                                          1           The -- the vessel appeared to be
                                                                                                          2   well maintained to me on both visits, as
                                                                                                          3   far as I can remember. It was clean, tidy.
                                                                                                          4   There wasn't apparent safety hazards. The
                                                                                                          5   maintenance system was by and large up to
                                                                                                          6   date. There was some minor problems, which
                                                                                                          7   I think I reported in 2007.
                                                                                                          8           The crew were very professional
                                                                                                          9   about how they -- they regarded making sure
                                                                                                         10   that they did what they were supposed to do
                                                                                                         11   with regard to their duties. So it seemed
                                                                                                         12   to be a well-run operation from my
                                                                                                         13   perspective.
                                                                                                         14




                                                                                                                              80 (Pages 314 to 317)
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Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 79 of 86


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                                                                                                            d II
                                                                                                            :   I /'1
                                WITNESS CERTIFICATE                             LL                          I~



                 I,     DAVID McKAY, have read or have had the

                 foregoing testimony read to me and hereby certify

                 that      it is      a true and correct                   transcription           of

                 my testimony,                with the            exception          of        any

                 attached corrections or changes.




        (Date Signed)                                           (Signature)



                      Signed with corrections as attached.

                      Signed with no corrections noted.




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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 80 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                      Reported by:


VICTOR R. MARTINEZ                                                                   April 14, 2011 SANDRA D. FILES, CCR

                                                                                                                           Page 1
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA

                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                          Videotaped deposition of VICTOR
               R. MARTINEZ, 15526 Jersey Drive, Jersey
               Village, Texas 77040, taken in the Pan
               American Life Center, Bayou Room, 11th
               Floor, 601 Poydras Street, New Orleans,
               Louisiana 70130, on Thursday, April 14th,
               2011.

               APPEARANCES:

               ON BEHALF OF THE PLAINTIFFS
               STEERING COMMITTEE



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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 81 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                                Reported by:


VICTOR R. MARTINEZ                                                                   April 14, 2011 SANDRA D. FILES, CCR
                                                                                           Page 266                                                  Page 268




 10




                                                                                                      18           I want to ask you, start out by
                                                                                                      19   asking you some questions on the time when
                                                                                                      20   first boarded the rig for inspection. You
                                                                                                      21   said that was April 1st; is that right?
 22                                                                                                   22       A. That's correct, I believe it was
                                                                                                      23   April 2nd.
                                                                                                      24       Q. April 2nd, 2010?
 25                                                                                                   25       A. Look at my daily report?
                                                                                           Page 267                                                  Page 269
   1                                                                                                   1      Q. Sure. Well, let me just ask you
                                                                                                       2   the question and we can get back to the
                                                                                                       3   date. When you first boarded did
                                                                                                       4   you -- were you provided a safety
                                                                                                       5   orientation by the crew?
                                                                                                       6      A. Yes.
                                                                                                       7      Q. Would you agree that that
                                                                                                       8   orientation was conducted in a thorough and
                                                                                                       9   professional manner?
                                                                                                      10      A. Yes.
                                                                                                      11      Q. Were you also provided
                                                                                                      12   information regarding evacuation plans?
                                                                                                      13      A. Yes.


 16




                                                                                                                            68 (Pages 266 to 269)
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                  Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 82 of 86
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                         Reported by:


VICTOR R. MARTINEZ                                                                   April 14, 2011 SANDRA D. FILES, CCR
                                                                                           Page 270                           Page 272



  3           Q. In your dealings with Owen
  4        McWorter, did you find him to be competent?
  5           A. Yes.
  6           Q. Did you find him to be
  7        professional?
  8           A. Yes.
  9           Q. Did you find him to be very
 10        knowledgeable about the subsea equipment on                                                1
 11        the Deepwater Horizon?
 12           A. Yes.
 13           Q. Was he agreeing -- was he
 14        agreeable and did he work with you during
 15        your inspection?
 16           A. Yes.




 25
                                                                                           Page 271
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                                                                                                      4




                                                                                                          69 (Pages 270 to 273)
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Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 83 of 86


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                                                                                                                                             JUN 3      2011
                                           WITNESS CERTIFICATE



                 I, VICTOR R. MARTINEZ, have read or have had

                 the foregoing testimony read to me and hereby

                 certify that it is a true and correct transcription

                 of         my testimony,                                                  with the                            exception     of   any

                 attached corrections or changes.

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         (Date Signed)                                                                               (Signature)



                        Signed with corrections as attached.

                        Signed with no corrections noted.




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              Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 84 of 86
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                              Reported by:

KRISTOFER MILLSAP                                                      May 12, 2011        TAMARA CHAPMAN, CSR

                                                                                                                 Page 1
                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                                )         MDL NO. 2179
            by the OIL RIG,                                 )
            DEEPWATER HORIZON in                            )         SECTION "J"
            the GULF OF MEXICO,                             )
            April 20, 2010                                  )         JUDGE BARBIER
                                                            )
                                                            )         MAG. JUDGE
                                                            )         SHUSHAN




                                            **************
                                               VOLUME 1
                                            **************



                         Deposition of KRISTOFER MILLSAP,
            taken at Pan-American Building, 601 Poydras
            Street, 11th Floor, New Orleans, Louisiana,
            70130, on May 12, 2011.


            APPEARANCES:

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            New Orleans, LA 70113-1152
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              Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 85 of 86
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                 Reported by:

KRISTOFER MILLSAP                                                      May 12, 2011                       TAMARA CHAPMAN, CSR
                                                                        Page 322                                                     Page 324
                                                                                           1       Q. And when you came onto the
                                                                                           2   DEEPWATER HORIZON to conduct an inspection in
                                                                                           3   April 2010, did you receive a training and
                                                                                           4   orientation?
                                                                                           5       A. Yes.
                                                                                           6       Q. And did the staff that conducted
                                                                                           7   that orientation training take it seriously,
                                                                                           8   to your opinion?
                                                                                           9       A. Yes.




                                                                        Page 323                                                            325
  1                                                                                        1




                                                                                                              82 (Pages 322 to 325)
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Case 2:10-md-02179-CJB-DPC Document 4457-26 Filed 11/01/11 Page 86 of 86




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                           WITNESS CERTIFICATE



                 I, KRISTOFER MILLSAP, have read or have had

                 the foregoing testimony read to me and hereby

                 certify that it is a true and correct transcription

                 of    my testimony I         with the      exception   of   any

                 attached corrections or changes.



          12.   :ru\¥ tOll
          (Date Signed)                               (Signature)



          )(    ~tA   Signed with corrections as attached.

                      Signed with no corrections noted.
